                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

LEWIS COSBY, ERIC MONTAGUE, and                        )
MARTIN ZIESMAN, as co-trustee for the                  )
Carolyn K. Ziesman Revocable Trust, on behalf          )
of themselves and all others similarly situated,       )
                                                       )
               Plaintiffs,                             )
v.                                                     )   No. 3:16-CV-121-TAV-DCP
                                                       )
KPMG, LLP,                                             )
                                                       )
               Defendant.                              )

                               MEMORANDUM AND ORDER

       This case is before the undersigned pursuant to 28 U.S.C. § 636, the Rules of this Court,

and Standing Order 13-02.

       Now before the Court is Defendant’s Motion to Exclude the Reports and Testimony of

Chad Coffman [Doc. 126]. The parties appeared before the undersigned for a motion hearing on

December 10, 2019. Attorneys Laura Posner, Alan Dreschel, and Gordan Ball appeared on behalf

of Plaintiffs. Attorneys Gregory Ballard, Allyson Riemma, and Paul Davidson appeared on behalf

of Defendant. Accordingly, for the reasons further explained below, the Court GRANTS IN

PART AND DENIES IN PART Defendant’s Motion [Doc. 126].

I.     BACKGROUND

       The Court will first review the pleadings in this case and then turn to the challenged

expert’s opinions.

       A.      Pleadings

       The instant matter is a securities action, whereby Plaintiffs allege claims pursuant to

Section 10(b) of the Securities Exchange Act and Rule 10b-5 (“Section 10”) and Section 11 of the



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Securities Act (“Section 11”). Plaintiffs’ Section 10 claim alleges that Defendant fraudulently

concealed material information about Miller Energy Resources, Inc., (“Miller Energy”), which

caused Miller Energy to misstate and omit material facts in its financial reports.1 With respect to

the Section 11 claim, Plaintiffs allege that the offering documents for the securities were materially

misleading.

       The Complaint [Doc. 1] in this matter was filed on March 14, 2016, and on September 15,

2017, Plaintiffs filed a Second Amended Class Action Complaint (“Amended Complaint”) [Doc.

59]. The Amended Complaint states that Miller Energy was an independent exploration and

production company that explored for, developed, and operated oil and gas wells in south-central

Alaska and Tennessee. [Id. at ¶ 22]. Plaintiffs represent a class of individuals who purchased

Miller Energy stock. [Id. at ¶¶ 14-16].2 Defendant is an accounting firm that Miller Energy

retained as its independent auditor on February 1, 2011. [Id. at ¶ 18].

       In late 2009, Miller Energy purchased oil and gas assets in Alaska (“Alaska Assets”). [Id.

at ¶ 1]. The Amended Complaint alleges that Miller Energy falsified its financials to overstate the

value of the Alaska Assets. [Id.]. The Amended Complaint states that the overstatement of the

Alaska Assets was the single most important event in Miller Energy’s history, transforming it from

a penny-stock company trading on the pink sheets to one traded on the New York Stock Exchange

(“NYSE”). [Id.].

       As mentioned above, on February 1, 2011, Miller Energy hired Defendant as its

independent auditor. [Id. at ¶ 63]. With respect to Plaintiffs’ Section 10 claim, they allege that



       1
        Plaintiffs also alleged a claim under Section 10 for scheme liability, but this claim was
dismissed by the District Judge [Doc. 76].
       2
        The Court permitted Plaintiffs Eric Montague and Martin Ziesman, as co-trustee for the
Carolyn K. Ziesman Revocable Trust, to be substituted as named Plaintiffs in this action.
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Defendant issued audit reports containing unqualified opinions on Miller Energy’s annual financial

statements for fiscal years 2011 through 2014, which were included in Miller Energy’s Form 10-

K filings that contained materially inflated asset values for Miller Energy’s oil and gas properties.

[Id. at ¶ 73]. In addition, Defendant provided review services related to Miller Energy’s quarterly

financial statements beginning in the third quarter of 2011, and Defendant recorded the value of

the Alaska Assets as substantially the same as the $480 million value initially reported by Miller

Energy following the acquisitions of those assets in December 2009. [Id. at ¶ 74]. The Amended

Complaint alleges that Defendant knowingly and recklessly abdicated its responsibilities in

connection with its audits of Miller Energy’s financial statements for fiscal years 2011 through

2014 and that had Defendant conducted its audits in compliance with Generally Accepted Auditing

Standards (“GAAS”) and the standards articulated by the Public Company Account Oversight

Board (“PCAOB”), it would have discovered Miller Energy’s fraud. [Id. at ¶ 75]. The Amended

Complaint alleges that by issuing clean opinions for the 2011-2014 fiscal years, Defendant

knowingly and recklessly disregarded significant material weaknesses in Miller Energy’s internal

controls, specifically, internal controls relating to the way Miller Energy valued the Alaska Assets.

[Id.].

         The Amended Complaint alleges that from August 29, 2011, to October 1, 2015, (“Class

Period”) Defendant repeatedly and materially violated GAAS in each of its audits and failed to

properly plan and perform its audits to obtain reasonable assurance that Miller Energy’s financial

statements were free of material misstatements. [Id. at ¶ 81]. In addition, the Amended Complaint

alleges that Defendant failed to properly assess the risk associated with the Miller Energy

engagement. [Id. at ¶ 83]. The Amended Complaint states that despite a number of significant

risks, Defendant assigned the Miller Energy engagement an overall risk grade of “medium,” in its



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     June 27, 2013      Series C      $21.50          335,000            $7,202,500
     Sep. 25, 2013      Series D      $25.00         1,000,000          $25,000,000
                                     $23.95-
     Oct. 17, 2013      Series D                      70,448             $1,701,000
                                     $24.38
     Aug. 20, 2014      Series D      $24.50         750,000            $18,375,000

[Id. at ¶ 286]. The Amended Complaint alleges that each offering was marketed and sold to the

public through the materially misstated Shelf Registration Statement and each respective

prospectus supplement. [Id. at ¶¶ 287-292]. Further, the Amended Complaint states that the

financial information incorporated by reference into the Offering Documents, including the

internal control-related representations and unqualified audit reports, contained untrue statements

of material fact or omitted to disclose material facts required to be stated therein or necessary to

make the statements therein not misleading. [Id. at ¶ 293].

       Plaintiffs have moved to certify two classes in this case:

               (1) All persons or entities who purchased or otherwise acquired
               Miller Energy common stock, Miller Energy 10.75% Series C
               Cumulative Redeemable Preferred Stock (the “Series C Preferred
               Stock”) or Miller Energy 10.5% Series D Fixed Rate/Floating Rate
               Cumulative Redeemable Preferred Stock (the “Series D Preferred
               Stock”) between August 29, 2011 and October 1, 2015 (the “Class
               Period”), inclusive, and who were damaged thereby (the “Section
               10 Class”); and

               (2) All persons and entities who purchased or otherwise acquired
               Miller Energy Series C Preferred Stock or Series D Preferred Stock
               pursuant to or traceable to the Offering Documents and were
               damaged thereby (the “Section 11 Class”).4

       In support of Plaintiffs’ Motion for Class certification [Doc. 107], they have retained Chad

Coffman. Specifically, in their Motion for Class Certification, Plaintiffs have invoked the fraud


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          The Court will refer to the Series C and Series D Preferred Stock, collectively as the
“Preferred Stock,” “Preferred Securities,” or “Preferred Shares.” The Court will refer to the
common stock, Series C Preferred Stock, and Series D Preferred Stock, collectively as the
“Securities,” unless otherwise noted. Finally, the Court will refer to the Section 10 and Section 11
classes, collectively as the “Classes.”
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on the market presumption pursuant to Basic Inc. v. Levinson, 485 U.S. 224, 241-42 (1988) (“Basic

presumption”), which is “based on the premise that market professionals generally consider most

publicly announced material statements about companies, thereby effecting stock market prices.”

In re BancorpSouth, Inc., No. 17-0508, 2017 WL 4125647, at *1 (6th Cir. Sept. 2017). In order

to rely on the Basic presumption, among other requirements, Plaintiffs must establish that the

market for the Miller Energy Securities was efficient.

         In the instant matter, Chad Coffman opines that the market for the Miller Energy’s

Securities was efficient and that damages for both Classes can be calculated on a class-wide basis.

Defendant has challenged Chad Coffman’s opinions pursuant to Federal Rule of Evidence 702 and

Daubert v. Merrell Pharma., Inc., 509 U.S. 579, 589 (1993).

         The Court will now turn to Chad Coffman’s opinions.

         B.     Chad Coffman’s Opinions

         Chad Coffman (“Coffman”) is the President of Global Economic Group, which is a

Chicago-based firm that specializes in the application of economics, finance, statistics, and

evaluation principles to questions that arise in a variety of contexts, including litigation. [Doc. 121

at ¶ 1]. He has a bachelor’s degree in Economics with Honors from Knox College and a Master

of Public Policy from the University of Chicago. [Id. at ¶ 4]. He is a Chartered Financial Analysist.

[Id.].

         As mentioned above, Plaintiffs retained Coffman to provide an opinion on whether the

markets for the Miller Energy’s Securities were efficient from August 29, 2011, through July 30,

2015 (“Analysis Period”). [Id. at ¶ 1]. In addition, Plaintiffs retained Coffman to provide an

opinion on whether calculating damages in this matter is subject to a common methodology under




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Section 10(b). [Id. at ¶ 2]. Finally, Plaintiffs asked Coffman to explain and demonstrate the

method for computing statutory damages under Section 11 related to the Offerings. [Id.].

         Coffman’s expert report is dated March 15, 2019 (“Initial Report”); however, Coffman

submitted a Corrected Expert Report (“Corrected Report”) on April 19, 2019. [Doc. 121]. In his

Corrected Report, he explains that during his deposition, he was asked a number of questions and

was shown a number of exhibits that suggested there were inadvertent errors in his Initial Report.

[Id. at ¶ i]. He explains that he corrected his inadvertent errors, but such errors did not impact the

conclusions to be drawn from his Initial Report or change any of his original opinions. [Id.].

         Coffman summarizes his opinions in this case as follows:

                After analyzing Miller Energy’s Securities during the Analysis
                Period and giving careful consideration to the efficiency factors
                described in detail throughout this report, I have formed the opinion
                that the markets for Miller Energy Securities were efficient during
                the Analysis Period. I have also formed the opinion that damages
                can be calculated for the two proposed Classes on a class-wide basis.

[Id. at ¶ 7]. With respect to his opinion that the market for the Miller Energy Securities was

efficient, Coffman relied on the factors articulated in Cammer v. Bloom, 711 F. Supp. 1264 (D.

N.J. 1989) (“Cammer Factors”), which include the following: (1) average weekly trading volume,

(2) analyst coverage, (3) market makers, (4) SEC Form S-3 eligibility, and (5) price reaction to

unexpected information. [Id. at ¶ 20]. He states that he also relied on a number of other factors

that courts have utilized beyond the Cammer Factors, including: (1) market capitalization, (2) bid-

ask spread, (3) the fraction of shares held by institutional investors, and (4) autocorrelation

(meaning whether there is a pattern in a security’s returns so that future returns can be predicted

based upon past returns), and (5) options trading. [Id. at ¶ 23]. The first three factors are referred

to as the “Krogman Factors,” pursuant to Krogman v. Sterritt, 202 F.R.D. 467, 478 (N.D. Tx.

2001).

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       Coffman opines that each factor that he considered supports the conclusion that the market

for the Miller Energy Securities was efficient throughout the Analysis Period. [Id. at ¶ 24].

Coffman supports his conclusion as follows:

              First, the average weekly trading volume of all Miller Energy
              Securities during the Analysis Period far exceeded benchmarks that
              courts have established, and each of the Miller Energy Securities
              had an average weekly trading volume that exceeded the average
              security traded on the New York Stock Exchange (“NYSE”) and the
              NASDAQ Exchange (“NASDAQ”).
              Second, there were a substantial number of securities analysts
              following and reporting on Miller Energy.

              Third, Miller Energy Securities were actively traded on the New
              York Stock Exchange, fulfilling the Cammer factor regarding
              market makers.

              Fourth, Miller Energy filed multiple SEC Forms S-3 during the
              Analysis Period, met the important eligibility criteria, and was
              apparently eligible to file a Form S-3 throughout the majority of the
              Analysis Period.

              Fifth, over most of the Analysis Period, prior to the market prices of
              Miller Energy Securities substantially falling ahead of its ultimate
              delisting and bankruptcy, the market capitalization of the Miller
              Energy Common Stock (or the Miller Energy Securities
              collectively) was in the mid-quartile range of all common stocks
              trading on the NYSE and NASDAQ combined.

              Sixth, over most of the Analysis Period, prior to the market prices
              of Miller Energy Securities substantially falling ahead of its ultimate
              delisting and bankruptcy, Miller Energy Securities had low bid-ask
              spreads relative to other exchange-traded common stocks.

              Seventh, institutions, which are considered generally to be well-
              informed investors, held, on average, over 30% of the public float
              of Miller Energy Common Stock

              Eighth, there is no evidence of consistent autocorrelation during the
              Analysis Period.

              Ninth, there was active trading in Miller Energy options throughout
              the Analysis Period.


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                   Finally, there was a strong cause-and-effect relationship between
                   new [Miller Energy]-specific information and the market prices of
                   Miller Energy Securities during the Analysis Period.

 [Id. at ¶ 26]. He concludes, “My analyses of all of these factors support the conclusion that Miller

 Energy Securities traded in open, developed, and efficient markets throughout the Analysis

 Period.” [Id.].

        With respect to Cammer Factor 5 (price reaction to new information), Coffman utilized

 event studies. [Id. at ¶ 48]. Coffman explains that an “event study is a well-accepted statistical

 method utilized to isolate the impact of information on market prices” and that “academics use

 event studies as one tool for evaluating the efficient market hypothesis in the first place.” [Id.].

 Coffman explains as follows:

                      To analyze cause and effect, I performed event studies to
                      determine whether there is scientific evidence that the market
                      prices of Miller Energy Securities react to new information. For
                      Miller Energy Common Stock, consistent with what I have done
                      for other market efficiency analyses, I have evaluated whether
                      Miller Energy Common Stock reacted to earnings
                      announcements in a manner significantly different from how the
                      stock moved on days with no Miller Energy-related news. I also
                      analyzed the extent to which large price movements in Miller
                      Energy Common Stock on dates other than earnings
                      announcements could be explained by newly released
                      information. Based on the analyses I performed, which explicitly
                      controls for the broader market as well as the price of oil, I find
                      that there is a clear cause-and-effect relationship between new
                      public information about Miller Energy and the market price of
                      Miller Energy Common Stock.

                      To analyze Miller Energy Preferred Securities, I also undertook
                      an event study approach, however, the nature of the Preferred
                      Securities (which are senior to the Common Stock in the capital
                      structure) suggests that the Preferred Securities would not
                      regularly react to quarterly earnings announcements unless the
                      solvency of the firm was called into question. There were only
                      three earnings announcements after the Preferred Securities
                      were consistently trading well below their par value, and the
                      Common Stock did not react significantly to these events,

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                      therefore it is unsurprising that the Preferred Securities did not
                      either.

                      Therefore, to analyze cause and effect for the Preferred
                      Securities, from the time that the Preferred Securities first traded
                      substantially below par value, I analyzed whether the Preferred
                      Securities reacted to firm-specific events that clearly updated the
                      market regarding the ability of the Company to continue paying
                      dividends or for the securities to continue trading on the
                      exchange.

 [Id. at ¶¶ 50-52].

         Specifically, with respect to the common stock event study, he utilized a regression model

 over a period of time to observe the typical relationship between the market price of the relevant

 security and broad market factors. [Id. at ¶ 53]. He explains that he evaluated the relationship

 between Miller Energy’s common stock daily returns (percentage change in price) controlling for

 the S&P Total Return (“Market Index”) and NYMEX WTI Light Sweet Crude Oil Futures

 (“NYMEX Oil Index”). [Id.].5 He chose the NYMEX Oil Index instead of an index of peer

 companies because Miller Energy’s communications to the market clearly identified the price of

 oil as a critical factor in its ability to generate cash flows. [Id.]. Further, for each trading day,

 Coffman constructed a regression model using data from the prior 120 days trading days. [Id. at

 ¶ 54]. He used a rolling estimation window, explaining that it allows for the relations between

 Miller Energy common stock, industry and market factors, as well as firm-specific volatility to

 update over time. [Id.]. He states that the model indicates that there is a positive correlation

 between Miller Energy common stock and the control variables, which simply means that the

 movement of the Market Index and NYMEX Oil Index explains the price movements of Miller

 Energy common stock. [Id. at ¶ 55].



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        As explained below, infra Part IV, section B(1)(iii), Coffman actually relied on the ICE
 WTI Light Sweet Crude Oil Futures Index.
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        Coffman further explains that with respect to his regression model for common stock, he

 also examined the standard deviation of errors, or the metric for how much randomness remains

 in the price movement. [Id. at ¶ 56]. He states that he also examined the price response of Miller

 Energy’s common stock to seventeen (17) earnings announcements that occurred during the

 Analysis Period. [Id. at ¶ 58]. He found that of the seventeen-regular quarterly earnings Miller

 Energy issued during the Analysis Period, three (3) resulted in statistically significant price

 movements above the 95% confidence level. [Id. at ¶ 61]. He then compared those results against

 the 316 days during the Analysis Period where there was no Miller Energy-related news, analyst

 reports published, or filings by the Securities Exchange Commission (“SEC”) that were issued.

 [Id. at ¶ 62]. He explains as follows:

                Of these 316 days, there were fourteen statistically significant price
                movements. Thus, during the Analysis Period there was a
                statistically significant price reaction at the 95% confidence level on
                17.65% of the earnings announcements, but when compared to days
                with no Miller Energy-related news, I observed statistically
                significant reactions 4.43% of the time. For days with no news, the
                fact that I observed only fourteen days with significant movements
                is consistent with what I would expect to observe by randomness
                alone. This is powerful scientific evidence of a cause-and-effect
                relationship between new publicly released information concerning
                the Company and changes in the price of Miller Energy Common
                Stock.

                Furthermore, on the 316 days with no news, the average change in
                price of Miller Energy Common Stock was 2.52% after controlling
                for the broad market and the price of oil, while the average change
                in Miller Energy Common Stock on earnings dates was 4.16%. In
                other words, the average magnitude of stock price movement on
                earnings announcement days was about 1.7 times higher than on
                dates with no news. Again, this demonstrates that on days when
                important Company-specific information is released to the market,
                the stock price moves much more than on days where there is no
                Company-specific news. This provides further evidence of a cause-
                and-effect relationship between the Company-specific news and
                changes in the price of Miller Energy Common Stock, and thus an
                efficient market.

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 [Id. at ¶¶ 62-63]. He states that the daily trading volume also tended to be much higher when

 important Miller Energy-specific news was released to the market and that there is a strong cause-

 and-effect relationship between new Miller Energy-specific news and rapid changes in the price

 of Miller Energy common stock. [Id. at ¶ 65]. He concludes, “The event study analysis presented

 in this section demonstrates a clear cause-and-effect relationship between new material news and

 changes in the market price of Miller Energy Common Stock.” [Id. at ¶ 67].

        As mentioned above, Coffman also conducted an event study for Preferred Securities. [Id.

 at ¶ 51]. Coffman states that the market prices for the Preferred Securities would trade based upon

 the present value of the expected dividend payments, which has specific implications for what to

 expect from an event study. [Id. at ¶ 74]. Coffman states that in particular, from the time of the

 issuance of each of the Preferred Securities to the time where the market prices substantially fall

 below the par value (which indicates an increased risk of default), the market price would be driven

 primarily by changes in the time value of money (i.e., the applicable discount rate) and that market

 prices would not be expected to be sensitive to all the factors that impact the common stock. [Id.].

 Coffman states that as a result, the volatility of the Preferred Securities would be expected to be

 low relative to the common stock and that the market price would not be expected to respond to

 events like earnings announcements or other news that does not fundamentally impact the

 perceived chance of default. [Id.]. Coffman states that on October 15, 2014, the market prices of

 the Preferred Securities fell to a new low that was substantially below par value, so he constructed

 two different fixed estimation windows for the Preferred Securities: one prior to October 15, 2014,

 and another for October 15, 2014, to the end of the Analysis Period. [Id. at ¶ 76]. In order to test

 for cause and effect, Coffman evaluated the price movements of the Preferred Securities in the

 post-October 15, 2014 period when there was news that was clearly related to the ability of Miller

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 Energy to continue paying preferred stock dividends or remain listed on the NYSE. [Id. at ¶ 78].

 Coffman states that his results show that the news events are associated with far greater incidence

 of statistical significance, stock price movements, and trading volume. [Id. at ¶ 80]. He concludes

 that such findings provide scientific evidence of a cause and effect relationship between new news

 events and changes in the market price of the Preferred Securities. [Id.].

        With respect to damages, Coffman states that these can be calculated on a class-wide basis.

 [Id. at ¶ 98]. Specifically, with respect to Section 10 damages, he explains that the standard and

 well-settled formula for assessing damages for each class member under Section 10(b) is the “out-

 of-pocket” method, which measures damages as the artificial inflation per share at the time of the

 purchase less the artificial inflation at the time of the sale. [Id. at ¶ 99]. He states that the

 methodology and evidence for establishing the artificial inflation per share in the market price on

 each day during the Class Period is also common to the Section 10 Class and can be measured

 class-wide. [Id. at ¶ 100]. He states that the most common methodology to quantify artificial

 inflation is to perform an event study that measures price reaction to disclosures that revealed the

 relevant truth concealed by the alleged material omissions/misrepresentations. [Id.]. Damages

 would then be calculated formulaically based upon the information collected in the claims process

 (i.e., the investor’s purchase and sale history for the security, which is routinely available from

 brokerage statements and/or other documents that provide evidence of securities transactions).

 [Id.]. With respect to damages under Section 11, Coffman explains that they are calculated based

 on a statutorily defined formula. [Id. at ¶ 101].

        Finally, Coffman issued a Rebuttal Report [Doc. 142-1] in response to Defendant’s expert,

 Mukarram Attari, Ph.D. (“Dr. Attari”), which the Court has also reviewed and considered.




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 II.    POSITIONS OF THE PARTIES

        Defendant moves [Doc. 126] to exclude Coffman’s opinions that the market for Miller

 Energy Securities was efficient and that damages can be determined on a class-wide basis. With

 respect to Coffman’s first opinion (i.e., the market was efficient), Defendant asserts that Coffman’s

 data and analysis do not support his conclusions. Defendant states that in order to determine

 market efficiency, Coffman conducted an event study, but the data that he relied on does not

 support his conclusions that the market was efficient for both the common stock and the Preferred

 Stock. Further, Defendant asserts that Coffman’s results fail to establish that Defendant’s alleged

 misrepresentations impacted the price of the Miller Energy Securities. Defendant argues that in

 Coffman’s Initial Report, he did not express any opinions on price impact. Defendant states that

 Coffman included an opinion on price impact in his Corrected Report, but this opinion should be

 excluded because it was provided after his deposition.

        In addition, Defendant argues that Coffman’s methodologies are unreliable. For instance,

 Defendant states that his method for identifying news days, no news days, and market days has a

 high known rate of error. Defendant states that Coffman did not control for market reactions

 caused by other Miller Energy events or disclosures and that he failed to correctly control for the

 price of oil. Defendant suggests that Coffman’s opinions were prepared solely for litigation.

        Further, Defendant submits that Coffman’s event study for the Preferred Stock is

 unreliable. Defendant argues that Coffman incorrectly computed the returns on the Preferred

 Stock and that the methodology for the event study is biased.

        Finally, Defendant asserts that Coffman’s methodology for computing class-wide damages

 is also unreliable. Defendant states that Coffman’s methodology does not provide a mechanism

 for determining which investors in the Section 11 Class suffered damages. In addition, Defendant



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 argues that Coffman’s methodology for the Section 10 Class does not provide a mechanism for

 separating low-risk and high-risk investors. In support of the arguments above, Defendant relies

 on its expert, Dr. Attari.

         Plaintiffs respond [Doc. 150] that Coffman is qualified to render his opinions and that

 numerous courts have relied on them. Plaintiffs state that Coffman’s market efficiency opinions

 are relevant and reliable. Plaintiffs submit that Defendant has not challenged Coffman’s opinions

 regarding Cammer Factors 1 through 4. Plaintiffs state that Defendant challenges Cammer Factor

 5, but courts have held that when Cammer Factors 1 through 4 are satisfied, there is sufficient

 evidence to support a finding that the market for the stock was efficient during the class period.

 Plaintiffs state that Coffman’s common stock event study is reliable and that Defendant’s own

 expert conceded that Miller Energy’s common stock reacted to material news events. Plaintiffs

 argue that the type of study Coffman conducted has been accepted and endorsed in the academic

 literature. Plaintiffs state that any issues regarding the factual support for Coffman’s opinions are

 proper for cross examination.

         Similarly, Plaintiffs argue that Coffman’s market efficiency opinions and methodology for

 analyzing the market for Miller Energy Preferred Stock are relevant and reliable. Again, Plaintiffs

 assert that Coffman’s analysis of Cammer Factors 1 through 4 are unrefuted. Plaintiffs state that

 the time period and events analyzed in Coffman’s Preferred Stock event study are reliable. Finally,

 with respect to Coffman’s opinions on damages, Plaintiffs submit that damages under Section 11

 are statutory and that under Section 10, it is not necessary to distinguish between high-risk and

 low-risk investors in Coffman’s model.

         Defendant maintains [Doc. 159] that Coffman’s data and analysis do not support his

 conclusions. Defendant states that with respect to Coffman’s analysis of the common stock, courts



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 have held that Cammer Factor 5, the cause and effect relationship, is the most important factor,

 and expert reports are routinely excluded where the expert’s event study does not establish market

 efficiency under Cammer Factor 5. Further, Defendant asserts that the data and results do not

 support Coffman’s conclusions regarding the efficiency of the market with respect to the Preferred

 Stock. Defendant states that Coffman incorrectly computed returns on the Preferred Stock and

 that his methodology is biased. Finally, Defendant maintains that Coffman’s opinions on damages

 are unreliable and that an evidentiary hearing may be helpful.6

 III.   STANDARD OF REVIEW

        “Federal Rule of Evidence 702 obligates judges to ensure that any scientific testimony or

 evidence admitted is relevant and reliable.” Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137,

 147 (1999) (quoting Daubert v. Merrell Dow Pharma., Inc., 509 U.S. 579, 589 (1993)).

 Specifically, Rule 702 provides as follows:

                A witness who is qualified as an expert by knowledge, skill,
                experience, training, or education may testify in the form of an
                opinion or otherwise if:

                (a) the expert’s scientific, technical, or other specialized knowledge
                    will help the trier of fact to understand the evidence or to
                    determine a fact in issue;

                (b) the testimony is based on sufficient facts or data;

                (c) the testimony is the product of reliable principles and methods;
                    and

                (d) the expert has reliably applied the principles and methods to the
                    facts of the case.



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          As mentioned above, the Court held a motion hearing on December 10, 2019, but no party
 brought any expert witnesses to testify. In any event, the Court is satisfied that the record is
 sufficient. The instant Motion, along with Plaintiffs’ Motion for Class Certification, which the
 Court considered contemporaneously, is over 5,000 pages, and includes expert reports, expert
 depositions, and expert rebuttal reports from both parties.
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 Fed. R. Evid. 702.

        In Daubert, the Supreme Court of the United States stated that a district court, when

 evaluating evidence proffered under Rule 702, must act as a gatekeeper, ensuring “that any and all

 scientific testimony or evidence admitted is not only relevant, but reliable.” 509 U.S. at 589. The

 Daubert standard “attempts to strike a balance between a liberal admissibility standard for relevant

 evidence on the one hand and the need to exclude misleading ‘junk science’ on the other.” Best v.

 Lowe’s Home Ctrs., Inc., 563 F.3d 171, 176–77 (6th Cir. 2009).

        The factors relevant in evaluating the reliability of the testimony, include: “whether a

 method is testable, whether it has been subjected to peer review, the rate of error associated with

 the methodology, and whether the method is generally accepted within the scientific community.”

 Coffey v. Dowley Mfg., Inc., 187 F. Supp. 2d 958, 970-71 (M.D. Tenn. 2002) (citing Daubert, 509

 U.S. at 593–94). The Rule 702 inquiry is “a flexible one,” and the Daubert factors do not constitute

 a definitive checklist or test. Kumho Tire Co., 526 U.S. at 138-39 (citing Daubert, 509 U.S. at

 593); see also Heller v. Shaw Indus., Inc., 167 F.3d 146, 152 (3d Cir. 1999) (explaining that these

 factors “are simply useful signposts, not dispositive hurdles that a party must overcome in order

 to have expert testimony admitted”).

        “Although Daubert centered around the admissibility of scientific expert opinions, the trial

 court’s gatekeeping function applies to all expert testimony, including that based upon specialized

 or technical, as opposed to scientific, knowledge.” Rose v. Sevier Cty., Tenn., No. 3:08-CV-25,

 2012 WL 6140991, at *4 (E.D. Tenn. Dec. 11, 2012) (citing Kumho Tire Co., 526 U.S. at 138-39).

 “[A] party must show, by a ‘preponderance of proof,’ that the witness will testify in a manner that

 will ultimately assist the trier of fact in understanding and resolving the factual issues involved in

 the case.” Coffey, 187 F. Supp. 2d at 70-71 (quoting Daubert, 509 U.S. at 593-94). The party



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 offering the expert has the burden of proving admissibility. Daubert, 509 U.S. at 592 n. 10.

        Moreover, the Supreme Court has explained that in determining “whether the expert is

 proposing to testify to (1) scientific knowledge that (2) will assist the trier of fact,” the court must

 assess “whether the reasoning or methodology underlying the testimony is scientifically valid and

 whether it can properly be applied to the facts in issue.” Id. at 592–93. “Furthermore, the court

 must examine the expert’s conclusions in order to determine whether they can reliably follow from

 the facts known to the expert and the methodology used.” In re Diet Drugs, No. MDL 1203, 2001

 WL 454586, at *7 (E.D. Pa. Feb. 1, 2001) (citing Heller, 167 F.3d at 153).

        Further, a court should “exclude proffered expert testimony if the subject of the testimony

 lies outside the witness’s area of expertise.” In re Diet Drugs, 2001 WL 454586, at *7 (quoting 4

 Weinstein’s Fed. Evid. § 702.06[1], at 702–52 (2000)). This simply means that “a party cannot

 qualify as an expert generally by showing that the expert has specialized knowledge or training

 which would qualify him or her to opine on some other issue.” Id. (other citations omitted).

        Finally, “the court will not exclude expert testimony merely because the factual bases for

 an expert’s opinion are weak.” Andler v. Clear Channel Broad., Inc., 670 F.3d 717, 729 (6th Cir.

 2012) (quotation marks and citations omitted). Exclusion is the exception, not the rule, and “the

 gatekeeping function established by Daubert was never ‘intended to serve as a replacement for the

 adversary system.’” Daniels v. Erie Ins. Group, 291 F. Supp. 3d 835, 840 (M.D. Tenn. Dec. 4,

 2017) (quoting Rose v. Matrixx Initiatives, Inc., No. 07–2404–JPM/tmp, 2009 WL 902311, at *7

 (W.D. Tenn. March 31, 2009)) (other quotations omitted). Rather, “[v]igorous cross-examination,

 presentation of contrary evidence, and careful instruction on the burden of proof are the traditional

 and appropriate means of attacking shaky but admissible evidence.” Daubert, 509 U.S. at 596.

 Rule 702 does not “require anything approaching absolute certainty.” Daniels, 291 F. Supp. 3d at



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 840 (quoting Tamraz v. Lincoln Elec. Co., 620 F.3d 665, 671–72 (6th Cir. 2010)).

 IV.    ANALYSIS

        In the instant Motion, Defendant makes three primary arguments: (1) the data and analysis

 do not support Coffman’s conclusions; (2) his methodology with respect to the event studies is

 unreliable; and (3) his methodology regarding damages is unreliable. The Court will address these

 arguments separately.

        A.         Coffman’s Data and Analysis

        Defendant argues that the data and results do not support Coffman’s conclusions on the

 efficiency of the market for the common stock or the Preferred Stock. Further, Defendant argues

 that Coffman failed to establish that Defendant’s alleged misrepresentations impacted the price of

 the Securities.

        Defendant’s challenge to Coffman’s opinion relates to Coffman’s application of Cammer

 Factor 5—that is, the cause and effect relationship. As an initial matter, Plaintiffs argue that any

 alleged issues with Cammer Factor 5 is not a basis to exclude Coffman’s opinions. On the other

 hand, Defendant asserts that courts routinely exclude expert testimony where the expert’s event

 study does not establish market efficiency. Both parties cite cases in support of their respective

 positions.

        For instance, Defendant relies on In re Fed. Home Loan Mortg. Corp. Sec. Litig. (“Freddie

 Mac”), wherein the court denied a motion for class certification when plaintiffs were unable to

 establish that the market was efficient, and therefore, the fraud on the market presumption of

 collective reliance did not apply. 281 F.R.D. 174, 182 (S.D.N.Y. 2012). In so finding, the court

 noted that plaintiff’s expert’s opinions were flawed, including his two event studies. Id. at 181.

 The court referred to Cammer Factor 5 as the “most important Cammer factor.” Id. Later, the



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 court explained that the “Cammer factors are intended to be an analytical tool, not a checklist.”

 Id. The court found that the “less important Cammer factors support a finding of efficiency,” but

 such factors “cannot substitute for evidence of a cause-and-effect relationship between unexpected

 news and market price.” Id. at 181-82. The court noted, “This is the crucial factor—the sine qua

 non of efficiency [because] [i]t speaks to the ‘essence’ of the efficient market hypothesis, and it is

 the foundation of the fraud on the market theory.” Id. at 182. The court stated that plaintiff’s

 expert’s study responded to material news 28% of the time, which is insufficient to satisfy

 plaintiff’s burden of proving Cammer’s cause-and-effect factor.” Id. The court found, “The other

 Cammer and Krogman factors do not directly address the question of efficiency. Without evidence

 of the prompt effect of unexpected news on market price, the market cannot be called efficient.”

 Id.

        Defendant also cites to Ohio Pub. Employees Ret. Sys. v. Fed. Home Loan Mortg. Corp.,

 where the court excluded plaintiffs’ expert and denied class certification. No. 4:08CV0160, 2018

 WL 3861840, at *17 (N.D. Ohio Aug. 14, 2018). With respect to plaintiffs’ expert, the court

 excluded him, in part, because his opinions were based on a single-date, last day of the putative

 class period event study to assess market efficiency over a 330-day class period, which the court

 found to be unreliable. Id. at *2. The plaintiffs’ expert admitted that his use of a single date for

 his event study had no support in the law or logic and was rejected by the authorities on which he

 relied. Id. The court also reasoned that market efficiency across a lengthy class period cannot be

 based on a lone stock price. Id. Further, the expert conceded the following: (1) a single stock

 price reaction could not possibly demonstrate that the stock traded in an efficient market months

 earlier, (2) his event study did not prove market efficiency for the duration of the class period, and

 (3) he had previously never used a single-date event study. Id. at *3-4.



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        Further, in Ohio Pub. Employees Ret. Sys., with respect to plaintiffs’ request for class

 certification, defendants only disputed Cammer Factor 5. Id. at *16. The court noted that other

 courts have referred to Cammer Factor 5 as the “most important” factor—the “sine qua non of

 [market] efficiency.” Id. (citing Freddie Mac, 281 F.R.D. at 178) (other citations omitted). The

 court stated that plaintiffs’ expert even agreed that the fifth factor is the most important factor and

 the most convincing way to demonstrate market efficiency. Id. at *17. The court found, “The

 structural factors are not enough, alone, to establish market efficiency.” Id. The court stated that

 the plaintiffs’ expert witness’s single-date event study, by his own admission, does not prove

 market efficiency and that his other tests suffered from numerous fundamental designs flaws. Id.

 The court concluded that plaintiffs could not establish market efficiency. Id.

        As Plaintiffs point out, however, other courts have held that Cammer Factor 5, while

 important, is not dispositive. For example, Plaintiffs cite to Carpenters Pension Tr. Fund of St.

 Louis v. Barclays PLC, wherein the court stated as follows:

                While the Second Circuit endorsed the use of the Cammer factors
                in Bombardier, it has not required their use or held that any one of
                them is dispositive. A substantially similar approach has been taken
                by the Courts of Appeals for the First, Third, Fourth, Fifth, and
                Eleventh Circuits. The vast majority of courts have used
                the Cammer factors as “an analytical tool rather than as a
                checklist.” Indeed, not even the Cammer court considered the fifth
                factor necessary, stating only that “it would be helpful to a plaintiff
                seeking to allege an efficient market....”

                In most cases, evidence that a stock trades at high volumes on a large
                national market, such as the NYSE or NASDAQ, and is followed by
                a large number of analysts will be sufficient to satisfy
                the Basic presumption on class certification. While defendants have
                managed to find one case that states that Cammer 5 is dispositive—
                the Freddie Mac case involving preferred shares—the court’s
                reasoning for adopting such a rule is tethered to its factual
                context. Different contexts require courts to place greater
                importance on some factors than on others. No other court has
                adopted a per se rule that any one factor is dispositive. At the same

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                  time, courts have found market efficiency in the absence of an event
                  study or where the event study was not definitive.

                  Requiring a plaintiff to submit proof of market reactions—and to do
                  so with an event study—ignores Supreme Court precedent as well
                  as practical considerations. Event studies test for a degree of
                  efficiency that may not be required. Halliburton II makes clear that
                  no specific degree of efficiency is mandated to invoke
                  the Basic presumption.

 310 F.R.D. 69, 83–84 (S.D. N.Y. 2015) (other citations omitted). The court concluded as follows:

                  [I]n the ordinary case of a high-volume stock followed by a large
                  number of analysts and traded on a national exchange, whether a
                  plaintiff can satisfy Cammer 5 is not dispositive. Nor is an event
                  study always necessary. Not even the Cammer court said that
                  an event study was required to satisfy the fifth factor, and defendants
                  have not cited to any controlling authority that holds that an event
                  study is the only means to satisfy Cammer 5. In the usual case of
                  common or other highly traded and analyzed stock, there is no
                  reason to burden the court with review of an event study and the
                  opposing expert’s attack of it. The exception, and this was also made
                  clear in Halliburton II, is when defendants present evidence of lack
                  of price impact or that the market was inefficient. In those cases, an
                  event study or other rebuttal evidence is required and class
                  certification becomes a battle of competing expert studies.

 Id. at 86; see also Beaver Cty. Employees' Ret. Fund v. Tile Shop Holdings, Inc., No. 14-786

 ADM/TNL, 2016 WL 4098741, at *10 (D. Minn. July 28, 2016) (recognizing that courts are split

 on whether Cammer Factor 5 is dispositive but finding that the “weight of authority on this issue

 favors [p]laintiffs” and that “[m]any courts have found market efficiency without Cammer factor

 five”).

           The undersigned notes that the instant Motion before the Court is a Daubert motion, and

 thus, whether Cammer Factor 5 is dispositive of the market efficiency issue depends on how the

 expert analyzed market efficiency in total. Further, the Court agrees with the court in Barclays in

 that “[d]ifferent contexts require courts to place greater importance on some factors than others.”

 Id. at 86. Thus, in the context of a Daubert motion, the Court finds it more important to determine

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 how an expert reached his/her conclusions as opposed to determining whether case law dictates

 one factor’s supremacy over another. Willis v. Big Lots, Inc., 242 F. Supp. 3d 634, 655 (S.D. Ohio

 2017) (finding that the court need not resolve the dispute as to whether the fifth Cammer factor is

 necessary).7

        With respect to Cammer Factor 5, and as mentioned above, Defendant argues that the data

 and results do not support Coffman’s conclusions on the efficiency of the market with respect to

 the common stock or the Preferred Stock. Further, Defendant argues that Coffman failed to

 establish that Defendant’s alleged misrepresentations impacted the price of the securities. The

 Court will address these arguments separately.

        1.      Coffman’s Data and Analysis of the Common Stock

        As mentioned above, in order to study the cause and effect relationship between Miller

 Energy’s disclosures and stock price, Coffman utilized an event study, which he describes as a

 “well-accepted statistical method utilized to isolate the impact of information on market prices.”

 [Doc. 121 at 31]; see also Plumbers & Piperfitters Nat. Pension Fund v. Burns, 967 F. Supp. 2d

 1143, 1151 (N.D. Ohio Sept. 4, 2013) (referring to an event study as “a generally accepted



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           Defendant states that Coffman testified that he does not have an opinion on whether the
 markets were efficient without an event study showing a cause-and-effect relationship, citing to
 Coffman’s deposition testimony. [Doc. 127 at 11]. The Court does not construe Coffman’s
 testimony as Defendant has suggested. During Coffman’s deposition, Defendant asked Coffman
 certain hypotheticals regarding statistically significance price movements in response to earnings
 announcements. [Doc. 138-2 at 38-40]. For instance, Defendant asked Coffman if he found zero
 out of seventeen (17) earnings releases led to price movements, would Coffman have concluded
 that there was no cause and effect relationship, and therefore, no market efficiency. [Id. at 39].
 Coffman answered that such would not provide evidence of market efficiency, but he would look
 into the reasons for such findings. [Id. at 40]. Taken as a whole, the Court does not construe this
 testimony to mean that without an event study, Coffman has no opinion on market efficiency.
 Further, in Coffman’s Corrected Report, he states, “However, since there is no bright-line tests for
 efficiency, it is important to consider the identified efficiency factors as a whole because none of
 the individual tests or metrics is determinative as to whether a particular market is efficient.” [Doc.
 121 at ¶ 22].
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 technique for measuring how a security's price reacts to new, unexpected information about the

 issuing company”). With respect to the common stock, Coffman evaluated whether it reacted to

 earnings announcements in a manner that is significantly different from how the stock moved on

 days with no Miller Energy-related news. [Doc. 121 at ¶ 50]. He also analyzed the extent to which

 large price movements in Miller Energy’s common stock on dates other than earnings

 announcements could be explained by newly released information. [Id.]. According to his study,

 he identified seventeen (17) regular quarterly earnings announcements Miller Energy issued during

 the Analysis Period, three (3) of which resulted in statistically significant price movements above

 the 95% confidence level. [Id. at ¶ 61]. He then compared these results against the 316 days

 during the Analysis Period when there was no Miller-Energy-related news, analyst reports

 published, or SEC filings issued. [Id. at ¶ 62]. He states that of these 316 days, there were fourteen

 (14) statistically significant price movements. [Id.]. Therefore, he explains that during the

 Analysis Period, there was a statistically significant price reaction at the 95% confidence level on

 17.65% of the earnings announcements, but when compared to days with no Miller Energy-related

 news, he observed statistically significant reactions 4.43% of the time. [Id.]. He explained the

 4.43% was expected based on randomness alone. [Id.]. He concludes that such findings are

 powerful scientific evidence of cause-and-effect relationship between new publicly released

 information concerning Miller Energy and the changes in the price of the common stock. [Id.].

 He also notes that the average magnitude of stock price movement on earnings announcement days

 was about 1.7 times higher than on dates with no news. [Id. at ¶ 63]. Coffman concludes that his

 event study demonstrates a clear cause-and-effect relationship between new material news and

 changes in the market price of Miller Energy common stock. [Id. at ¶ 67].




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        Defendant argues that the data and analysis do not support Coffman’s conclusion that the

 market is efficient. Defendant explains that Coffman supports his conclusions by relying upon

 three (3) earnings announcements out of seventeen (17), which is 17.65%. Defendant states that

 such a low percentage cannot show a cause and effect relationship.

        Plaintiffs respond that such criticisms go to the weight of the opinion and not to its

 admissibility. Plaintiffs argue that there is no 50% threshold requirement and that the academic

 literature, along with Defendant’s expert, admitted that a 50% threshold does not exist. Plaintiffs

 argue that it is no surprise that a company’s stock price may not move in response to an earnings

 release given that earnings releases do not provide new, material information. Defendant agrees

 that the 50% threshold is not a requirement in every case but argues that courts regularly reject

 event studies where less than 50% of the news days cause a statistically significant price reaction.

        The Court notes that Defendant has cited cases for the proposition that an insufficient

 number of news days followed by a market reaction does not establish market efficiency. See

 Freddie Mac, 281 F.R.D. at 174 (expert’s showing that series Z responded to material news 28%

 of the time is insufficient to satisfy plaintiff’s burden of proving Cammer’s cause and effect

 relationship); George v. China Auto. Sys., Inc., No. 11 CIV. 7533 KBF, 2013 WL 3357170, at *12

 (S.D.N.Y. July 3, 2013) (“Even assuming that the methodology was proper, showing that only

 seven out of sixteen days resulted in a market reaction is an insufficient foundation upon which to

 pronounce market efficiency . . .To state the obvious, seven out of 16 is less than 50%”); but see

 Beaver, 2016 WL 4098741 (finding that the stocks traded on an efficient market, even though

 Coffman’s event study did not support Cammer Factor 5). In the instant matter, however,

 Defendant simply disagrees with Coffman’s conclusions. “Under Daubert, a disagreement with

 the expert’s conclusion is not grounds for exclusion.” North v. Ford Motor Co., 505 F. Supp. 2d



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 1113, 1117 (D. Utah 2007); see also Buck v. Ford Motor Co., 810 F. Supp. 2d 815, 831 (N.D.

 Ohio 2011) (“The important thing is not that experts reach the right conclusion, but that they reach

 it via a sound methodology.”) (quoting Tamraz v. Lincoln Elec. Co., 620 F.3d 665, 675 (6th Cir.

 2010)) (emphasis in Buck).       The Court finds Defendant’s argument goes to the weight of

 Coffman’s opinion as opposed to its admissibility. Accordingly, the Court finds Defendant’s

 argument not well taken.

         2.     Coffman’s Data and Analysis of the Preferred Stock

         As mentioned above, Coffman also utilized an event study with respect to the Preferred

 Stock. Coffman explains that due to the nature of preferred securities, he did not expect the

 Preferred Stock to regularly react to quarterly earnings announcements until the solvency of the

 firm was called into question. [Doc. 121 at ¶ 51]. Coffman states that there were only three (3)

 earnings announcements after the Preferred Stock consistently traded well below its par value, and

 it is unsurprising that the Preferred Stock did not react significantly to these events. [Id.]. Coffman

 states, therefore, in order to determine the cause and effect for the Preferred Stock, from the time

 that the Preferred Securities first traded substantially below par, he analyzed whether the Preferred

 Stock reacted to firm-specific events that clearly updated the market regarding the ability of Miller

 Energy to continue paying dividends or for the securities to continue trading on the exchange. [Id.

 at ¶ 52].

         Coffman states that as of October 15, 2014, the market prices of the Preferred Stock fell to

 a new low that was substantially below par value, which signaled that the markets saw a greater

 probability that Miller Energy might default and that the value of the Preferred Stock would depend

 on, to a great extent, the perceived value of Miller Energy’s assets, rather than just the promise to

 pay. [Id. at ¶ 75]. From that point forward, Coffman concludes that that market prices of the



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 Preferred Stock would be expected to be much more correlated with the factors that impact

 common stock. [Id.]. Therefore, he construed two different fixed estimation windows for the

 Preferred Stock: one prior to October 15, 2014, and another for October 15, 2014, to the extended

 Analysis Period of July 31, 2015. [Id. at ¶ 76 & n. 106]. Coffman’s models show that the volatility

 of the Preferred Stock is very low during the pre-October 15, 2014 period and are more

 commensurate with the common stock after October 15, 2014, which he opines is consistent with

 market efficiency. [Id. at ¶ 77].

         To test for cause and effect, Coffman evaluated the price movements of the Preferred Stock

 during the post-October 15, 2014 period when there was news that was related to the ability of

 Miller Energy to continue paying preferred stock dividends or remain listed on the NYSE. [Id. at

 ¶ 78]. He then compared the event study results on these days with the results for days with no

 news, SEC filings, or analysis reports. [Id. at ¶ 79]. He concludes that that his analysis shows that

 the news events are associated with a far greater incidence of statistical significance, stock price

 movements, and trading volume, which provides scientific evidence of a cause and effect

 relationship between new events and changes in the market price of the Preferred Securities. [Id.

 at ¶ 80].

         In his Rebuttal Report, Coffman further explains that for non-convertible debt-like

 securities (Series D Preferred Stock) or for convertible debt-like securities where the common

 stock price is below where conversion to common would be profitable (Series C Preferred Stock),

 investors in preferred shares would, unlike common shareholders, not receive any higher expected

 cash flows from a positive earnings surprise. [Doc. 142-1 at ¶ 12]. Coffman explains that this

 flows directly from the basic valuation principle that all securities are valued based upon the

 expected future cash flows to those security-holders, discounted at the appropriate rate. [Id.]. He



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 states that the Miller Energy Preferred Stock is entitled to the payment of preferred dividends and

 eventually the redemption value, but common stockholders are entitled to residual earnings over

 and above what is necessary to service debt and preferred securities. [Id.]. Coffman concludes

 that as a result, all else being equal, an additional dollar of earnings at the margin would have no

 influence on the market value of Preferred Stock. [Id.]. Coffman states that a negative earnings

 surprise, as long as it was not sufficiently large to call into question the payment of preferred

 dividends, would not lower the expected cash flows to preferred shareholders. [Id.]. Coffman

 concludes as follows:

                  However, this economic logic changes once the market begins to
                  question whether there will be enough resources to continue paying
                  preferred dividends. A clear signal of this market concern occurs
                  when preferred shares start trading substantially below their
                  redemption value, because it reflects the market’s belief that the
                  cash available to satisfy preferred dividends and redemption of the
                  preferred shares is more uncertain. In those circumstances, the
                  availability of cash flows to pay preferred dividends is more closely
                  tied to the short-term financial prospects of the firm. As such, one
                  would expect greater sensitivity to earnings announcements. This is
                  precisely the logic and rationale for (1) considering different events
                  before and after the preferred securities started trading below their
                  redemption value and (2) why I did not consider earnings
                  announcements prior to October 15, 2014 as a meaningful or
                  statistically powerful set of dates to consider. Therefore, Dr. Attari’s
                  analysis of the earnings announcements and whether they did not
                  cause a statistically significant price movement for the preferred
                  shares is neither surprising nor informative as to whether there was
                  a cause and effect relationship for Miller Energy Preferred
                  Securities. Moreover, Dr. Attari admits that “the information
                  relevant to investors in Miller Energy’s common stock and the
                  preferred stock was different” and that investors in the Preferred
                  Securities need information besides earnings announcements to
                  evaluate the debt component of the preferred securities.

 [Id. at ¶ 13].

         Defendant asserts that the data from the event study does not support Coffman’s conclusion

 that the market for the Preferred Stock was efficient. Defendant states that Coffman found that

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 there are no statistically significant movements in the prices of the Preferred Stock in response to

 the three (3) earnings announcements, which does not support his conclusion that there is a cause

 and effect relationship between Miller Energy’s earnings announcements and the price of the

 Preferred Stock. In addition, Defendant asserts that Coffman tested the statistical significance of

 the price movements prior to October 15, 2014, but excluded this data from his event study.

 Defendant states that its expert reviewed Coffman’s backup data and found that zero (0) out of

 eleven (11) earnings announcements were followed by a statistically significant change in price.

 Finally, Defendant states that the indirect markers do not establish efficiency.

         Plaintiffs argue that Coffman explained why he conducted his analysis in a certain manner.

 Specifically, Plaintiffs state that as of October 15, 2014, the market price of the Preferred Securities

 fell to a level that was substantially below par value, which is when one would expect a price

 reaction to earnings announcements for the Preferred Securities due to the concern that Miller

 Energy may not have the resources to continue to pay the preferred dividends. Plaintiffs state that

 Dr. Attari acknowledged that the information relevant to investors in Miller Energy’s common

 stock and the Preferred Stock is different. Plaintiffs state that academic research demonstrates that

 there is no expectation in the first instance that securities react to earnings releases all or even half

 of the time. Plaintiffs maintain that numerous cases make clear that modifying the Cammer Factors

 for securities with debt like components, like the Preferred Securities here, is entirely appropriate.

 Further, Plaintiffs state that Coffman determined which news events to test by reference to clearly

 identified and objective criteria that followed naturally from the differences in the Preferred Stock

 and in the common stock and the type of news that would be expected to affect each. Plaintiffs

 contend that Defendant’s argument is not a basis upon which to exclude Coffman’s testimony.




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        In the instant matter, Defendant criticizes Coffman for only studying post-October 15, 2014

 events. In addition, Defendant argues that even assuming this is correct, zero (0) out of three (3)

 earnings announcements affected the price of the Preferred Securities. The Court finds these

 criticisms go to the weight of Coffman’s opinions. Coffman explains why he chose October 15,

 2014, as his starting point. Specifically, he states that the market prices fell to a new low that was

 substantially below par value, which signaled that Miller Energy may default. He states that prior

 to this date, the market price for the Preferred Securities would not be expected to respond to

 earnings events because they do not fundamentally impact the perceived chance of default. See In

 re Countrywide Fin. Corp. Sec. Litigation, 273 F.R.D. 586, 615 (C.D. Cal. 2009) (“Until the

 financial situation becomes severe enough that the issuer is likely to default, there is relatively

 little effect on debt price.”). Defendant also argues that Coffman’s analysis shows that out of the

 three (3) earnings announcements, zero (0) impacted the price of the Preferred Securities. In his

 findings, however, Coffman also relied on news that was clearly related to the ability of Miller

 Energy to continue paying preferred stock dividends or for its securities to continue trading on the

 NYSE, as opposed to only considering Miller Energy’s earnings announcements. The Court finds

 that Defendant’s criticisms go to the weight of Coffman’s opinions, but they are not a basis to

 exclude him as an expert.

        Finally, Defendant argues that Coffman’s own analysis of the indirect indicators of market

 efficiency (i.e., the other Cammer and Krogman Factors) demonstrates that the market for the

 Preferred Stock was not efficient. Specifically, Defendant states that Coffman’s report is deficient

 as follows: (1) it presents no evidence of any analysts covering Miller Energy’s Preferred Stock;

 (2) it presents no evidence of the existence of more than one market maker; (3) it presents no

 evidence of institutional investors holding the Preferred Stock; (4) it fails to analyze the market



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 capitalization of the Preferred Stock on its own, and instead, lumps it together with the Miller

 Energy common stock; (5) it states that Miller Energy was ineligible to file a Form S-3 at the

 beginning and for several months at the end of the proposed Class Period; and (6) it does not

 analyze that the bid-ask spreads for the Preferred Stock was above average at the end of the

 proposed Class Period.

         As an initial matter, the Court finds the above arguments are more helpful in weighing the

 decision on whether this action should be certified as a class action and whether Plaintiffs have

 established that the Basic presumption applies, as opposed to excluding Coffman’s report. In any

 event, Coffman discusses the above factors. With respect to analyst coverage, he states that the

 analyst reports covering the common stock also provide relevant information for investors in the

 Preferred Stock and that several analysts addressed the Preferred Stock directly, such as “Turning

 the Corner: Kitchen Sink of a Quarter Could Mark a Bottom, New Strategy in Place,” MLV &

 Co., LLC, December 10, 2014. [Doc. 121 at ¶ 35 n. 43]. He continues, “Even those reports that

 do not specifically mention the Preferred Shares directly provide relevant information to investors

 of the Preferred Shares since the value of Preferred Shares are related to the value of the common

 shares.” [Id.]. With respect to market makers, he explains that the Preferred Stock traded on the

 NYSE throughout the Analysis Period and that the minimum requirements to be listed and remain

 in good standing virtually guarantee a liquid market for that security. [Id. at ¶¶ 42-43]. Thus, he

 concludes, the number of market makers itself is not a particularly relevant metric in this case. [Id.

 at ¶ 42].

         Further, with respect to institutional investors, Coffman explains that the data available for

 the Preferred Stock was limited. [Id. at ¶ 90 n. 122]. He states that according to the SEC,

 institutional investment managers must use Form 13F for reports with respect to accounts holding



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 Section 13(f) securities. [Id.]. He states that for all quarterly lists starting in the third calendar

 quarter of 2012 (when the Series C Preferred Stock began trading) and ending at the end of the

 Analysis Period, the Preferred Securities were not labelled as Section 13F securities, meaning

 institutions were not required to report their holdings of the Preferred Securities. [Id.]. Coffman

 states that this is not uncommon for preferred securities in general, explaining that only 85 of the

 17,395 securities identified as Section 13F securities were preferred securities in the list for the

 second quarter of 2015. [Id.]. Coffman opines that the substantial level of institutional ownership

 of Miller Energy common stock during the Analysis Period coupled with the high trading volume

 support a conclusion of market efficiency, but he does not offer an opinion on this factor with

 respect to the Preferred Stock due to the limited data. [Id. at ¶ 90]. In his Rebuttal Report, Coffman

 names several institutions that voluntarily reported holding Preferred Stock. [Doc. 142-1 at ¶ 35].

 Coffman states that “the limited data available on institutional holdings of Miller Energy Preferred

 Securities does not suggest market inefficiency.” [Id.].

        In addition, with respect to market capitalization, Coffman states that it makes sense to

 consider the market capitalization of Miller Energy as a whole for the Preferred Stock because the

 overall size of Miller Energy affects things such as the amount of news and analyst coverage.

 [Doc. 121 at ¶ 84]. He states that Exhibits 13-C and 13-D show the market capitalization of the

 Preferred Stock, respectively, over the Analysis Period, while Exhibit 14 shows that when

 factoring in the Preferred Stock, Miller Energy’s combined market capitalization fell between the

 16th and 41st percentile of the combined NYSE and NASDAQ markets for the applicable quarters

 during the Analysis Period. [Id.]. Coffman concludes, “Given that the market capitalization of

 Miller Energy Common Stock and Miller Energy as a whole was in the mid-quartile range relative




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 to other publicly traded companies, this factor is supportive of market efficiency for the Miller

 Energy Securities.” [Id. at ¶ 85].

        With respect to Miller Energy’s ineligibility to file a Form S-3, Coffman opines that Miller

 Energy was S-3 eligible throughout the vast majority of the Analysis Period. [Id. at ¶ 46]. He

 acknowledges that at the start of the Analysis Period, Miller Energy was not eligible because it

 was not timely in filing its 10-K for the fiscal year end April 30, 2010, per a letter from the SEC.

 [Id. at ¶ 46 n. 55]. He states that Miller Energy was S-3 eligible up until nearly the end of the

 Analysis Period on July 14, 2015, when Miller Energy filed another NT 10-K. [Id.].

        Finally, with respect to the bid-ask spreads, Coffman discusses the above average bid-ask

 spreads at the end of the proposed Class Period. He states that with respect to the Series C

 Preferred Stock, the time-weighted average percentage bid-ask spread in each month was between

 0.2452% and 8.5394%. [Id. at ¶ 88]. He states that prior to the market prices of Miller Energy

 Securities substantially falling ahead of its ultimate delisting and bankruptcy, the Series C

 Preferred Stock had a bid-ask spread at or around 0.76%, the average bid ask spread of those 100

 common stocks trading on the NYSE and NASDAQ. [Id.]. He acknowledges that the bid-ask

 spread jumped past the average for the last eight months, and he attributes the jump to the falling

 market price of the Series C Preferred Stock prior to Miller Energy’s delisting and bankruptcy.

 [Id.]. Otherwise, he concludes that the Series C Preferred Stock was low during the Analysis

 Period, and therefore, the bid-ask spread supports efficiency. [Id.].

        Similarly, with respect to the Series D Preferred Stock, Coffman notes that prior to the

 market prices falling substantially, the Series D Preferred Stock had a bid-ask spread at or around

 0.76%, the average bid ask spread of those 100 common stocks trading on the NYSE and




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 NASDAQ. [Id. at ¶ 89]. Coffman states that the bid-ask spread jumped past the average near the

 end of the Analysis Period for the same reasons as above. [Id.].

         Again, Coffman addressed Defendant’s alleged deficiencies in his Corrected Report, and

 Defendant’s criticisms are more proper for the Court to weigh in determining whether Plaintiffs

 are entitled to rely on the Basic presumption. Accordingly, Defendant’s arguments are not well

 taken at this time.

         3.      Coffman’s Results Regarding Defendant’s Alleged Misrepresentations

         Defendant asserts that in Coffman’s Initial Report, he did not express an opinion on

 whether Defendant’s alleged misrepresentations impacted the price of Miller Energy’s Securities.

 Defendant states that in his Corrected Report, Coffman included a novel opinion on the topic,

 finding that there was a statistically significant price movement in response to one (1) of the four

 (4) audit opinions issued by Defendant on Miller Energy’s year-end financial results. Defendant

 argues that Coffman’s new opinion on price impact should be excluded because it was not included

 in his Initial Report but was later added in response to questions asked during his deposition.

 Defendant argues that even if Coffman’s opinion is allowed, it should nevertheless be excluded

 because it is unscientific and unreliable. Defendant states Coffman concedes that at least three (3)

 of the four (4) audit opinions did not cause any price increase of Miller Energy’s common stock.

 In addition, Defendant states that in the one instance where there was an increase in the stock price

 following the release of an audit opinion, Coffman failed to analyze whether it was caused by other

 Miller Energy disclosures.

         Plaintiffs do not address Defendant’s argument that Coffman’s opinion is a new opinion

 and should be stricken. Plaintiffs, however, assert that Dr. Attari did not criticize Coffman’s use

 of an event study or his methodology of the price impact. Plaintiffs argue that Defendant concedes



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 that the first false and misleading audit report preceded a significantly statistical increase of the

 share price by 60%. Plaintiffs state that Defendant simply questions whether the misstatement

 alone caused the share price to increase.

        During Coffman’s deposition, the following exchange occurred:

                Q.      Do you have any evidence that KPMG’s audit opinions
                        caused artificial inflation in the stock price?

                A.      I wasn’t asked to evaluate that.

                Q.      You have no opinion on that topic.

                A.      That’s correct, I have not evaluated that. I mean, I’ve seen
                        plaintiffs’ complaint. I understand the economic logic of
                        what their allegations are, but I, as a matter of fact, have not
                        evaluated whether it’s the case or not.

 [Doc. 133-1 at 214]. In his Corrected Report, Coffman states that he performed additional analysis

 on the movements of Miller Energy’s common stock to information concerning the original

 reporting of Miller Energy’s FY 2011 financial information, which would have subsumed and

 provided information about earnings in Q4 2011 prior to August 30, 2011. [Doc. 121 at ¶ vi].

 Coffman continues that such analysis sheds light on whether there is any evidence that the release

 of any of Defendant’s audit reports impacted the market price of the Miller Energy Securities.

 [Id.]. Coffman acknowledges that such analysis was not the subject of his Initial Report and is

 irrelevant to the question of whether the market is efficient, but he states that the question was

 raised during his deposition. [Id.]. He concludes that the prices of Miller Energy securities were

 impacted by Defendant’s audit reports. [Id.]. Coffman’s analysis shows that out of four audit

 opinions used by Defendant on Miller Energy’s year-end financial results, there was a statistically

 significant price movement in response to one audit opinion. [Id. at 76] (Exhibit 7).




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        As mentioned above, Defendant has requested that the Court strike this opinion because it

 was not part of Coffman’s Initial Report. Plaintiffs do not respond to this argument. Pursuant to

 Rule 26(e), an expert may supplement information included in a report and information given

 during an expert’s deposition. See Fed. R. Civ. P. 26(e)(2). The Rule does not allow an expert to

 provide a new opinion. Jermano v. Graco Children's Prod., Inc., No. 13-CV-10610, 2015 WL

 1737548, at *4 (E.D. Mich. Apr. 16, 2015) (“To be sure, Rule 26(e)(2) places limits

 on supplementation by an expert, and supplementation may not be used for strategic advantage.

 For instance, a party may not use the supplementation process to introduce entirely new expert

 opinions that could have been provided prior to the expert’s report and deposition.”). As

 demonstrated above, Coffman acknowledged during his deposition that he did not form an opinion

 on price impact. Accordingly, given that this is a new opinion and Plaintiffs do not respond to

 Defendant’s argument, the Court STRIKES the above opinion from Coffman’s Corrected Report.

        B.     Coffman’s Methodologies

        Defendant states that Coffman’s methodologies with respect to the event studies are

 unreliable. Defendant describes a number of alleged errors with respect to Coffman’s opinions

 that pertain to both the common and the Preferred Stock. In addition, Defendant describes a

 number of alleged errors that affect Coffman’s analysis with respect to only the Preferred Stock.

 The Court will address Defendant’s arguments separately.

        1.     Coffman’s Methodology for Analyzing Market Efficiency of the Miller Energy
               Securities

        Defendant argues that there are four issues with Coffman’s methodology for analyzing

 market efficiency as it pertains to the Miller Energy Securities. First, Defendant states that

 Coffman’s methodology for identifying news days, no news days, and market dates has a high

 known rate of error. Second, Defendant states that Coffman failed to control for market reactions

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 caused by other Miller Energy events or disclosures. Third, Defendant argues that Coffman’s

 methodology for controlling the price of oil is incorrect. Finally, Defendant states that Coffman’s

 report was prepared solely for this litigation.

        i.       Coffman’s Methodology for Identifying News Days, No News Days, and
                 Market Dates

        Defendant argues that Coffman’s Initial Report incorrectly identified the date of Miller

 Energy’s earnings announcements for the fourth quarter of 2013. Defendant states that correcting

 the date changed the statistical significance. Defendant explains that failing to identify the correct

 market date changed the number of statistically significant events—the most critical results on

 which Coffman purports to base his ultimate conclusion about the presence of a cause and effect

 relationship.   In addition, Defendant states that nine (9) of the seventeen (17) earnings

 announcements had the incorrect time for the release of the announcement in Coffman’s Initial

 Report. Defendant states “[t]hat the corrected times for eight of the earnings announcements did

 not alter the market date was a matter of luck” and cannot contribute to the reliability of the

 methodology. [Doc. 127 at 18]. Defendant further argues that Coffman missed two news days

 that were alleged in the Amended Complaint.

        Plaintiffs respond that Defendant’s arguments are irrelevant because they pertain to

 Coffman’s Initial Report and not his Corrected Report.

        In Coffman’s Corrected Report, he states as follows:

                 First, in my initial report, I made an inadvertent error in identifying
                 the date upon which the market would have first reacted to Miller
                 Energy’s release of Q4 2013 earnings. I erroneously relied upon the
                 timing of a Dow Jones Newswires publication of a “Correction” to
                 the earnings report instead of the timing of the original earnings
                 report. This inadvertent error caused me to analyze July 17, 2013 as
                 the market date for the Q4 2013 earnings announcement, instead of
                 July 16, 2013. I have confirmed that the market date for the other



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                16 earnings announcements I analyzed was correct. I have made
                this correction in my analysis of all Miller Energy Securities.

                Second, there are two days upon which Plaintiffs assert that news
                impacted the market price of Miller Energy that were inaccurately
                classified as “no news” days in my analysis (the StreetSweeper
                report issued after market hours on December 23, 2013 that would
                have impacted the market on December 24, 2013, and a Reuters
                article issued after market hours on October 13, 2014, that would
                have impacted the market on October 14, 2014). I have made this
                correction in my analysis of all Miller Energy Securities.

                As demonstrated within this Corrected Expert Report, while
                correction of these inadvertent errors changes certain numbers and
                calculations contained within the report, it does not impact in any
                way the ultimate conclusions to be drawn from the analysis or the
                opinions I have offered in this case. In addition, the errors do not
                indicate that the methodology used in my report, which is standard
                and regularly accepted by Courts throughout the country, is
                inadequate in any way.

 [Doc. 121 at ¶¶ ii-iv]. Further, in Coffman’s Rebuttal Report, he acknowledges that he made

 mistakes in his Initial Report. Specifically, Coffman states as follows:

                    Despite Defendant’s attempt to characterize my methodology as
                    unreliable and containing many errors, the reality is that, out of
                    many thousands of calculations and assessments, I made two
                    errors in my Initial Report that impacted my calculations.
                    Neither was an error in the general methodology I employed to
                    analyze market efficiency. Instead, one error involved assigning
                    an incorrect market date to a single Miller Energy earnings
                    announcement, and the other was the inadvertent exclusion of
                    two sources cited in the Complaint when assessing which days
                    during the Analysis Period contained news. I readily admitted
                    to the inadvertent errors, corrected them in a new report, and
                    empirically demonstrated that my ultimate conclusions and
                    opinions were unaffected by the errors.             My overall
                    methodology was unaltered. While I strive for perfection, that
                    does not always occur.

 [Doc. 142-1 at ¶ 2]. Given the above explanation, and Coffman’s opinion that the errors did not

 affect his ultimate conclusions, the Court finds Defendant’s arguments not well taken at this time.




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        ii.     Market Reactions Caused by Other Miller Energy Events and Disclosures

        Defendant argues that even in Coffman’s Corrected Report, he did not analyze whether the

 observed price changes were reactions to other Miller Energy events or disclosures that occurred

 around the same dates as the earnings releases he purportedly studied. Defendant argues that

 Coffman admitted that he did not do any work to analyze whether the price changes he observed

 on market dates were reactions to other news events in the two or three days leading up to the

 earnings releases. Defendant asserts that Coffman’s analysis skews the event study towards a

 conclusion that there was a cause and effect relationship.

        Plaintiffs respond, in a footnote, that Coffman testified that for the days on which he found

 there was a statistically significant price reaction to earnings releases, he did review the news

 surrounding those announcements for “clearly new material news that would be expected to move

 the market.” [Doc. 150 at 22 n. 13]. In addition, Plaintiffs explain that Coffman also stated that

 the control defense counsel was suggesting during the deposition was not economically

 appropriate and that the conclusions defense counsel was trying to draw regarding the two or three-

 day price reactions were inaccurate. [Id.]. Defendant replied that Coffman’s Corrected Report

 does not reflect this analysis and that such bald assertions that he performed a test, unsupported by

 any evidence, or backup data or reports, cannot be credited.

        During Coffman’s deposition, the following exchange occurred:

                Q.      For the three events for which you found an earnings release
                        was followed by a statistically significant price movement at
                        the 95 percent confidence level, what, if anything, did you
                        do to make sure that the price movement you observed was
                        the market date response to the earnings release you were
                        studying rather than a market date plus 1 carryover effect
                        from a news event the day before?

                A.      Well, I reviewed the news around these earnings
                        announcements, and I don’t remember all the details, but I

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                         don’t recall, on the day prior to any of those dates, there
                         being what I would consider clearly new material news that
                         would be expected to move the market, but without looking
                         back at my backup, I don’t know for sure, but I certainly
                         would have looked at that.

 [Doc. 133-2 at 108].

           The Court finds Defendant’s criticism goes to the weight of Coffman’s opinion, rather than

 to its admissibility. Coffman testified that he would have looked at other events but could not

 recall the specifics during his deposition. This does not affect the admissibility of his opinion, and

 Defendant may cross examine Coffman on whether he reviewed any events and if so, what specific

 events.

           iii.   Coffman’s Methodology for Controlling the Price of Oil

           Defendant asserts that Coffman’s methodology for controlling the impact of changes in the

 price of oil is incorrect. Defendant explains that Coffman’s methodology required him to control

 for the impact of changes in the price of oil, but Coffman mistakenly downloaded and used data

 from the wrong oil price index, rendering all of his analysis unreliable. Specifically, Defendant

 submits that Coffman states that he used the NYMEX WTI Light Sweet Crude Oil Futures Index

 (“NYMEX Oil Index”) obtained from the S&P Capital IQ. However, Coffman actually used a

 different index, the ICE WTI Light Sweet Crude Oil Futures Index (“ICE Oil Index”). According

 to Dr. Attari, there is a price difference on 29% of the days (325 days) in the Analysis Period

 between the oil prices used by Coffman and the NYMEX Oil Index. In addition, Defendant argues

 that Coffman incorrectly calculated the return of his oil price index for multiple dates in his event

 study. Defendant states that oil prices are based on futures contracts where the price of oil varies

 by day depending not only on the variation of the price of oil but also upon the maturity date of

 the futures contract included in the index. Defendant submits that to correctly calculate the return



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 on the oil price index on any given day, Coffman should have identified the futures contract on

 that date and calculated the percentage change in price of the same futures contract on that

 particular date. Defendant claims that this is not the methodology that Coffman used. Instead,

 Coffman simply divided the index level on each date by the prior date, even on the dates when the

 futures contract used in the index changed.

        Plaintiffs respond that Coffman’s use of a different index does not render the entire event

 study methodology unreliable. Plaintiffs argue that Dr. Attari agrees that (1) there are no

 substantive differences in the economic meaning or value of the two indices, (2) both indices are

 meant to track the market price of the same underlying commodity—that is oil, and (3) both indices

 are constructed by referencing prices for short term futures contracts covering oil. In addition,

 Plaintiffs state that Coffman performed the same test using the NYMEX Oil Index and found that

 it had no impact on the conclusions he reached and reported using the ICE Oil Index. Further,

 Plaintiffs state that Coffman’s report makes clear that he conducted a robustness check on a third

 index, the Dow Jones U.S. Exploration and Production Industry Index, which similarly had no

 impact on his results. Finally, with respect to the computation of the oil price index, Plaintiffs

 argue that Defendant provides no legal or academic authority for their assertion that Coffman

 incorrectly calculated the return and that Dr. Attari has used the same method in another case.

 Further, Plaintiffs state that Coffman demonstrated that even if he used Dr. Attari’s suggested

 method, it would not have impacted his conclusion.

        As mentioned above, Coffman acknowledged that in his Initial Report, he cited the wrong

 index. Specifically, in Coffman’s Initial Report, he claims that he relied on the NYMEX Oil Index,

 but he actually downloaded and relied on the ICE Oil Index. Dr. Attari states that “both the

 NYMEX and ICE futures contracts are designed to track the price of West Texas Intermediate oil



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 on the maturity date of the contract.” [Doc. 129-1 at ¶ 38]. Dr. Attari opines, “Because the market

 for the NYMEX future contracts is more liquid than the market for the ICE WTI Light Sweet

 Crude Oil Futures Index, and as Mr. Coffman observes, Miller Energy’s delivery prices were

 indexed to the NYMEX WTI prices, the NYMEX WTI Light Sweet Crude Oil Futures Index is

 the better index to use.” [Id.]. Dr. Attari states that while the two future index price series are

 similar, they are not the same. [Id. at ¶ 39]. For example, he states that Coffman did not have

 price data on October 20 and 21, 2011, for his oil price index, but prices were available for the

 NYMEX Oil Index. [Id.]. As shown in Dr. Attari’s Table 3, the ICE Oil Index that Coffman relied

 on differs from the NYMEX Oil Index on 29% of days or 325 days out of the 1,108 days during

 the Analysis Period. [Id.].

        The experts agree that both indexes are used to track the market price of the same

 underlying commodity, West Texas Intermediate Oil, and that they are both constructed using

 reference prices for short term futures contracts covering the same commodity. [Doc. 142-1 at ¶

 40]. The difference, according to both experts, is that the NYMEX Oil Index tracks futures

 contracts from the New York Mercantile Exchange, while the ICE Oil Futures Index tracks futures

 contracts from the Intercontinental Exchange. [Id.]. Coffman states, “[S]ince both of these indices

 are meant to generally track the same underlying commodity, the prices are highly consistent, as

 shown in the chart below. The correlation coefficient between the indices is over 97%.” [Id.].

 Coffman continues that using the NYMEX index had no impact on his conclusions. [Id. at ¶ 41].

 Coffman concludes, “More specifically, for the news days I analyzed, the use of the NYMEX Oil

 Futures Index does not change the proportion of days that are significant, changes the average

 absolute return by .05% and .11% for the Series C Preferred Stock and Series D Preferred Stock

 respectively, and does not impact the average volume of shares traded. All of the comparisons



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 against the ‘no news’ days remain statistically significant at or above the 95% significance level.”

 [Id.].

          The Court does not find that Coffman’s use of the ICE Oil Index, as opposed to the

 NYMEX Oil Index, is a basis for excluding the report. Both experts acknowledge that the indexes

 trace the same underlying commodity, West Texas Intermediate Oil, and they are both constructed

 using reference prices for short term futures contracts covering the same commodity. They simply

 use different exchanges to track the futures price. As Coffman states, the prices are highly

 consistent. Further, there is no evidence before the Court that reliance on one index, as opposed

 to the other index, is wrong. Defendant may cross examine Coffman on why the NYMEX Oil

 Index is better to utilize than the ICE Oil Index and the price difference on 29% of days during the

 Analysis Period.

          As mentioned above, Defendant also argues that Coffman incorrectly calculated the return

 on his oil price index for multiple days in his event study. Defendant states that the correct method

 to calculate the return on the oil price index is to identify the futures contract on that date and

 calculate the percentage change in the price of the same futures contract on that particular date.

 Defendant argues that Coffman simply divided the index level on each date by the prior date, even

 on dates when the futures contract used in the index changed.

          Plaintiffs argue that Defendant fails to provide any legal or academic authority for its

 assertions. In addition, Plaintiffs state that Dr. Attari previously used the same type of index when

 performing an event study in a case for which he was providing expert testimony. Plaintiffs argue

 that Coffman demonstrated that even if he used Dr. Attari’s suggested method, it would not impact

 his (Coffman’s) conclusions.




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        Specifically, Dr. Attari states that Coffman incorrectly calculated the return on the oil price

 index on numerous dates because Coffman failed “to account for the necessary rolling forward of

 futures contracts as they mature.” [Doc. 129-1 at ¶ 40]. Dr. Attari describes Coffman’s alleged

 error as “fundamental,” explaining that “[n]o qualified expert in the field would accept Mr.

 Coffman’s methodology on this point.” [Id.]. Dr. Attari states that “[r]eturns on an industry index

 or an index of peer companies can often be obtained from a data provider or can be computed in a

 fashion similar to that used to compute the return on the broad market index”—that is, “by dividing

 the index level on one day by its level on the previous day, minus one.” [Id. at ¶ 41 & n. 37]. Dr.

 Attari states that, with respect to futures contracts, the calculation is different because “it requires

 taking into account changes in the futures contract used to compile the index.” [Id. at ¶ 41]. Dr.

 Attari states that the index Coffman used contains contracts that expire every month, and therefore,

 the contract used in the index changes at least once a month. [Id. at ¶ 43].

        Dr. Attari explains that for most days, it is acceptable to calculate the percentage change in

 the futures price index by dividing the futures index level on the day by the futures index level on

 the previous trading day. [Id. at ¶ 44]. Dr. Attari continues that on other days, this calculation

 poses problems, explaining as follows:

                Doing so causes errors on days where the futures contract whose
                price is reflected in the index is not the same as the futures contract
                whose price is reflected in the index on the previous day. Care must
                be exercised to ensure that the price used is for the same futures
                contract on both days that are used to calculate the percentage
                changes of the index. On any given day, to calculate the return on
                the Oil Price Index correctly, Mr. Coffman needed to first identify
                the futures contract used on that day to construct the Oil Price Index
                and then calculate the percentage change in price of that futures
                contract on the day. Instead, Mr. Coffman calculated the percentage
                change on the Oil Price Index without controlling for the relevant
                futures contract.




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                Mr. Coffman has computed the return on the Oil Price Index by
                simply dividing the index level each day by its level on the prior
                day, even on the dates when the contract used in the index changed.
                Thus, the return on the Oil Price Index computed by Mr. Coffman
                is incorrect each time the futures contract whose price is used in the
                index changes.

 [Id. at ¶¶ 44-45]. Dr. Attari concludes that the impact of incorrectly calculating the return of the

 ICE Oil Futures Index was 55 days out of 1,106. [Id. at 97] (Table 3).

        In his Rebuttal Report, Coffman states that “[f]inancial economist regularly use third-party

 price indices to control for market or industry factors without dissecting all of the construction

 techniques if there are better ways to construct the series.” [Doc. 142-1 at ¶ 44]. Coffman states

 that he relied on a price index constructed by a reputable party that is intended to track the market

 price of WTI Oil. [Id.]. Coffman concludes that Dr. Attari’s criticism is a matter of statistical

 judgment and does not reflect an error in Coffman’s methodology. [Id.]. Further, Coffman

 explains:

                Nevertheless, I demonstrate that even if I had undertaken the
                procedure suggested by Dr. Attari, my conclusion of a cause and
                effect relationship between new news and changes in the market
                price of Miller Energy Preferred Securities is not impacted. (see
                Rebuttal Exhibit 9 and Rebuttal Exhibit 10). More specifically, for
                the news days I analyze, the use of the procedure suggested by Dr.
                Attari does not change the proportion of days that are significant and
                does not impact the average volume of shares traded. I analyzed
                both the raw returns I originally used and the dividend adjusted
                returns using Dr. Attari’s proposed methodology for both the Series
                C and Series D Preferred Stock. Rebuttal Exhibit 9 and Rebuttal
                Exhibit 10 show that the use of Dr. Attari’s proposed method
                changes the average absolute return by an inconsequential 0.01%
                and 0.10%, respectively, when analyzing the dividend adjusted
                returns for Miller Energy Series C and Series D Preferred Stock. All
                of the comparisons against the “no news” days remain statistically
                significant at or above the 95% significance level for the Miller
                Energy Preferred Securities. My conclusion that there is scientific
                evidence of a cause and effect relationship is not sensitive to my use
                of the WTI Oil index with or without the alterations to the index
                suggested by Dr. Attari.

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 [Id. at ¶¶ 44-45].

         In Dr. Attari’s Rebuttal Report, he explains that he is not criticizing Coffman’s reliance on

 a price index constructed by a third party. [Doc. 159-1 at ¶¶ 15-16]. Dr. Attari states:

                 Not every price index is designed for computing or can be used to
                 compute returns (in this instance, the percentage change in price)
                 simply by dividing the index level on a day by the level on the
                 previous day. As I explain in the Attari report, the futures contract
                 whose price is used in the ICE and NYMEX WTI Light Sweet Crude
                 Oil Futures Indexes changed periodically and the returns that Mr.
                 Coffman purports to compute on those days are not returns at all.
                 They are simply the percentage difference in the price between two
                 different securities (in this instance, future contracts with different
                 maturities) across the two days.

 [Id. at ¶ 16] (Emphasis in original).

         The Court has considered the parties’ arguments and finds that Defendant’s challenge to

 Coffman’s opinion is not a basis for exclusion. Dr. Attari acknowledges that for most days, the

 percentage change in the futures price index can be computed by dividing the futures index level

 on the day by the futures index level on the previous trading day. Dr. Attari criticizes Coffman’s

 opinions because on fifty-five (55) days out of 1,106 (using the ICE Oil Index), Coffman allegedly

 used the wrong futures contract to calculate the returns. Coffman disagrees, stating that the third-

 party price index controls for market or industry factors without having to dissect all of the

 construction techniques. Plaintiffs argued at the December 10 hearing that Defendant has not

 provided any authority for its argument.

         While the experts disagree as to whether Coffman used the correct future contracts in his

 calculations, the Sixth Circuit has cautioned that relying on incorrect data, or even missing data,

 is not a basis to exclude an opinion, unless there is a significant error in application. In re Scrap

 Metal Antitrust Litig., 527 F.3d 517, 530 (6th Cir. 2008) (citing Quiet Tech. DC–8, Inc. v. Hurel–



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 Dubois UK Ltd., 326 F.3d 1333, 1343–44 (11th Cir. 2003)) (explaining that where the appellant

 was not arguing that it was improper to conduct a study using the certain aerodynamic data that

 the expert employed, but rather the specific numbers the expert used were wrong, the alleged flaws

 in the expert's analysis “are of a character that impugn the accuracy of his results, not the general

 scientific validity of his methods”); Stuckey v. Online Res. Corp., No. 2:08-CV-1188, 2012 WL

 1808943, at *6 (S.D. Ohio May 17, 2012) (explaining that the parties’ disagreement about the

 specific numbers to input in a formula is an improper basis upon which to exclude expert

 testimony) (citing Quick Tech., 326 F.3d at 1345); see also Noffsinger v. Valspar Corp., No. 09 C

 916, 2013 WL 12340487, at *3 (N.D. Ill. Jan. 4, 2013) (“Similarly, Mr. Marscher criticizes Dr.

 Mostovoy's calculations as “without value” and describes a number of problems with the

 assumptions made by Dr. Mostovoy and the formulas used in his calculations . . . These are all

 criticisms of Dr. Mostovoy's methodology that the jury can consider when deciding the “credibility

 and accuracy” of Dr. Mostovoy's testimony.”).           Here, as previously mentioned, Dr. Attari

 acknowledges that for most days, one only need to divide the futures index level on the day by the

 futures index level on the previous trading day.

        Further, Coffman’s opines that even if he uses Dr. Attari’s proposed method of calculating

 the returns, the average absolute return is inconsequential, citing Exhibits 9 and 10 in his Rebuttal

 Report for support. See also Universal Surveillance Corp. v. Checkpoint Sys., Inc., No. 5:11-CV-

 1755, 2015 WL 6082122, at *6 (N.D. Ohio Sept. 30, 2015) (“When the selection of certain data in

 an expert’s analysis is challenged, but the expert provides a rationale supported by the record, the

 issue of whether the expert’s conclusions are accurate or defensible goes to the weight of the

 evidence, not its admissibility.”) (citing In re Scrap Metal, 527 F.3d at 530–31).




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                                  17682
         Finally, the Court also notes that Defendant does not explain the actual impact of the

 changed output values, other than stating that it serves as the backup data that forms the basis of

 the event study. Stated in a different way, Defendant only argues that Coffman did not supply a

 fully, corrected version of his report, so that in-and-of-itself results in a significant methodological

 error rendering the Corrected Report unreliable. The issue for Defendant, however, is that it insists

 that Coffman’s methodology is wrong and points to incorrectly computed returns, but Defendant

 does not argue that such alleged incorrections produce inconsistent results. Accordingly, the Court

 finds Defendant’s argument not well taken.

         iv.     Coffman’s Report

         Defendant asserts that the errors in Coffman’s event study expose him as a quintessential

 expert for hire. Plaintiffs respond that Coffman’s work has grown naturally and directly out of his

 research and decades of experience and is supported by the academic literature and widely

 accepted by courts in the securities litigation context.

         A court may exclude an expert if his/her opinion was prepared solely for litigation. Newell

 Rubbermaid, Inc., v. Raymond Corp., 676 F.3d 521, 527 (6th Cir. 2012). “[A]

 proposed expert’s opinion is not prepared solely for litigation when the expert is “testify[ing] about

 matters growing naturally and directly out of research [he] ha[s] conducted independent

 of litigation.” Banks v. Bosch Rexroth Corp., No. CIV.A. 5:12-345-DCR, 2014 WL 1364763, at

 *3 (E.D. Ky. Apr. 7, 2014) (quoting Johnson v. Manitowoc Boom Trucks, Inc., 484 F.3d 426, 434

 (6th Cir. 2007)). “Therefore, if a witness has ‘extensive familiarity’ with the subject to which he

 is seeking to offer an opinion, it will be admissible even if it was prepared only for litigation.” Id.

 (citing Johnson, 484 F.3d at 434).




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                                  17683
        As mentioned above, Defendant argues that Coffman’s errors expose him as a

 quintessential expert for hire. The Court disagrees. Coffman has extensive familiarity with the

 subject matter he intends to testify. As described in his Corrected Report, he holds a bachelor’s

 degree in Economics with honors from Knox College and a Master’s of Public Policy from the

 University of Chicago. [Doc. 121 at ¶ 4]. For over twelve years, he was responsible for conducting

 and managing analysis in a wide variety of areas, including securities valuation and damages, labor

 discrimination, and antitrust. [Id. at ¶ 5]. Accordingly, the Court does not find that he is the

 quintessential expert for hire.

        2.      Coffman’s Methodology for Analyzing Market Efficiency for the Preferred
                Stock

        Defendant asserts that there are three errors in Coffman’s event study as it relates to the

 Preferred Stock. First, Defendant states that Coffman incorrectly computed the returns on the

 Preferred Stock. In addition, Defendant contends that Coffman’s methodology for the event study

 of the Preferred Stock is biased. Finally, Defendant argues that Coffman’s autocorrelation analysis

 supports the conclusion that the market for the Preferred Stock was inefficient.

        The Court will address these arguments in turn.

        i.      Coffman’s Computation of the Returns

        Defendant asserts that Coffman incorrectly calculated the returns by ignoring the dividend

 payments investors received. Defendant states that such resulted in lower returns for the Preferred

 Stock, which affected the coefficients for the regression models in Exhibits 5-C and 5-D.

 Defendant submits that Coffman then used the coefficients to calculate the abnormal returns and

 abnormal dollar changes in Exhibits 9 and 11, which affected the statistical significance of the

 event days in Exhibits 10 and 12.




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          Plaintiffs assert that Dr. Attari admitted during his deposition that he did not check to

 determine whether using the dividend payments in the analysis would change the outcome of the

 cause and effect test. Plaintiffs argue had Dr. Attari actually tested his hypothesis, he would have

 recognized that adjusting for dividend payments has no effect on the results of the analysis or

 Coffman’s conclusion that the event study supported the existence of efficient markets.

          Defendant replies that Coffman conceded that he incorrectly computed the returns of the

 Preferred Stock because he excluded dividends. Defendant states that Coffman attributed the error

 to a member of his staff who manually replaced the dividend-adjusted returns within a spreadsheet

 and failed to realize the manual calculations erroneously and inadvertently eliminated the dividend

 adjustments. Defendant argues that this error resulted in lower returns for the Preferred Stock,

 which affected the coefficients for the regression models in Exhibits 5-C and 5-D. Defendant

 explains that Coffman then used these coefficients to calculate the abnormal returns and abnormal

 dollar changes on the event days in Exhibits 9 and 11, which affected the statistical significance

 of the event days in those exhibits and in Exhibits 10 and 12. Defendant states that despite this

 fundamental flaw, Coffman has not produced corrected copies of Exhibits 5-C, 5-D, 9, and 11.

 Defendant argues that as explained in Dr. Attari’s report, the above issues impact the entire event

 study.

          Specifically, Dr. Attari states that Coffman incorrectly computed returns for the Preferred

 Stock by failing to take into consideration the dividends paid on those securities. [Doc. 129-1 at

 ¶ 30]. Dr. Attari describes Coffman’s mistake as a “fundamental error.” [Id.]. Dr. Attari explains,

 “Investors earn a return from holding a security in the form of price appreciation and dividend

 payments that they receive” but “Coffman ignores the dividend payments on the Series C and




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                                  17685
 Series D Preferred Stock when he computes the returns for these two securities.” [Id.]. Dr. Attari

 states as follows:

                  While there are only a few days on which the correctly computed
                  returns of the Series C and Series D Preferred Stock are different
                  from the returns Mr. Coffman uses, the differences on these days are
                  large. For each of the ex-dividend dates, the percentage change in
                  price in Mr. Coffman’s study is always lower than the correct return
                  because Mr. Coffman incorrectly ignores the dividend payment. The
                  average difference between the return and the percentage price
                  change is 2.81% for the Series C Preferred Stock and 2.77% for the
                  Series D Preferred Stock. These errors can be expected to affect Mr.
                  Coffman’s estimates of the coefficients from the regression models
                  in Exhibits 5-C and 5-D which he uses to calculate the Abnormal
                  Return and Abnormal Dollar Change on the event days in Exhibits
                  9 and 11. These errors can also be expected to affect the standard
                  deviation of errors from the regression model in Exhibits 6-C and 6-
                  D and consequently the t-statistic and significance level on Mr.
                  Coffman’s event days in Exhibits 9 and 11. Many of the numbers
                  reported in Exhibits 10 and 12 are also likely to be affected because
                  they are based on the estimates of Abnormal Returns for the event
                  days and days with no news. Finally, many of the numbers reported
                  in Exhibits 17-C and 17-D are also likely to be affected because they
                  are based on the estimates of Abnormal Returns during Mr.
                  Coffman’s Analysis Period.

 [Id. at ¶ 32].

         In his Rebuttal Report, Coffman acknowledges that adjusting for dividend payments is

 appropriate and was his intention. [Doc. 142-1 at ¶ 37].8 Coffman states that Dr. Attari does not

 suggest that the incorporation of dividend adjustments impacts his (Coffman’s) analysis in a

 meaningful way. [Id. at ¶ 38]. Coffman states that for the Series C Preferred Stock, the

 incorporation of dividend adjusted returns does not change the proportion of news days with

 significant returns, changes the average absolute return for those days by a negligible 0.02%, and




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           Coffman further explains that in the process of handling data, a member of his staff
 manually replaced the dividend-adjusted within a spreadsheet and failed to realize the elimination
 of the dividend adjustment. [Doc. 142-1 at ¶ 37 n 83.].
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                                  17686
 does not affect the volume. [Id.]. With respect to the Series D Preferred Stock, Coffman states

 that there is no change whatsoever to the proportion of news days with significant returns, or the

 volume, and the average absolute abnormal return changes by 0.02%. [Id.]. Coffman states, “The

 statistical tests of whether the news days have a greater proportion of statistically significant

 returns and whether the average absolute returns are higher on news days relative to “no news”

 days remains statistically significant at far greater than the 99% confidence level, affirming [his]

 conclusion that the markets for Miller Energy Securities were efficient.” [Id.]. Coffman concludes

 that Dr. Attari’s criticism “has no substantive influence either on [Coffman’s] specific conclusion

 that there is evidence of a cause and effect relationship or [Coffman’s] ultimate conclusion that

 Miller Energy Preferred Securities traded in efficient markets.” [Id. at ¶ 39].

        As noted above, Coffman concedes that he inadvertently excluded dividend payments, but

 the Court does not find this error results in the exclusion of his opinion. The Court finds the Sixth

 Circuit Court of Appeals’ decision in In re Scrap Metal Antitrust Litigation instructive. 527 F.3d

 at 517. In that case, the Sixth Circuit Court of Appeals addressed whether the district court abused

 its discretion in admitting expert testimony. Id. at 528. The Court noted that defendant did not

 challenge the reliability of the method, but instead, challenged the reliability of plaintiff’s expert’s

 testimony because the expert used an inaccurate price index and alterations to the prices. Id. Stated

 in a different way, the defendant contended that the expert “used erroneous data and necessarily

 produced an erroneous conclusion; in sum, ‘garbage in, garbage out.” Id. The Sixth Circuit

 disagreed with defendant’s argument, calling it “unpersuasive because it fundamentally confuses

 the credibility and accuracy of [the expert’s] opinion with its reliability.” Id. at 529. The Sixth

 Circuit explained that an error in the data or missing data go to the weight of the opinion and not

 to its admissibility. Id. (citing Quiet Tech. DC-8, Inc., 326 F.3d at 1343-44) (finding appellant’s



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                                  17687
 argument that the specific numbers the expert used were wrong, and therefore, such flaws impugn

 the results is better addressed by cross examination rather than exclusion).

        The Sixth Circuit further commented that this “is not to say that a significant error in

 application will never to go the admissibility, as opposed to the weight of the evidence.” Id. The

 Court continued, however, that “rejection of the expert testimony is the exception, rather than the

 rule” and that “we will generally permit testimony based on allegedly erroneous facts when there

 is some support for those facts in the record.” Id. (other quotations omitted).

        In the instant matter, Defendant argues that Coffman’s opinion is unreliable because he did

 not take into account dividend payments. For similar reasons as explained in In re Scrap Metal

 Litigation, the Court finds Defendant’s argument goes to the weight of Coffman’s opinion and

 does not constitute a basis to exclude his opinion. Trollinger v. Tyson Foods, Inc., No. 4:02-CV-

 23, 2008 WL 305032, at *10 (E.D. Tenn. Jan. 31, 2008) (explaining that the expert has drawn

 conclusions as to how that data should be interpreted and that defendants’ “opportunity to argue

 how and to what extent [the expert’s] analysis and conclusions are incorrect is provided through

 cross-examination and the presentation of their own expert and evidence at trial”).

        Furthermore, in this case, Coffman states that he reviewed his results and concluded that

 the exclusion of dividend payments did not affect his ultimate conclusions. As previously

 described, Coffman states that incorporating dividends does not change the proportion of news

 days with significant returns, it changes the average absolute return by 0.02%, and does not affect

 the volume. Dr. Attari acknowledged during his deposition that he did not check to see whether

 Coffman’s outcome for the Preferred Stock would be impacted if dividends were taken into

 account but simply noted that the numbers Coffman uses in various exhibits would be affected.

 [Doc. 143-2 at 158]. In Dr. Attari’s Rebuttal Report [Doc. 159-1], he discusses the affected



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                                  17688
 exhibits, but he does not explain how the exhibits affect Coffman’s ultimate results. Accordingly,

 the Court declines to exclude Coffman’s opinion on such grounds.

    ii. Coffman’s Methodology for the Preferred Stock

        Defendant asserts that Coffman’s event studies for the Preferred Stock were limited to the

 time period after October 15, 2014. Defendant argues that such a limitation is without a legitimate

 basis. In addition, Defendant asserts that instead of using earnings announcements, as Coffman

 did with the study of the common stock, Coffman deviated from his usual methodology and

 analyzed price movements in response to news that was clearly related to the ability of Miller

 Energy to continuing paying Preferred Stock dividends or remain listed on the NYSE. Defendant

 states that Coffman explains that his methodology was selected because the Preferred Stock is

 driven primarily by changes in the time value of money, but Defendants argue that this explanation

 is unsupported by basic economics, accepted statistical methodology, and Coffman’s own dates.

 Defendant argues that the entire methodology employed by Coffman (comparing earnings releases

 with no news days) is not supported by the scientific literature.

        Plaintiffs maintain that the events analyzed in the Preferred Stock event study are reliable.

 Plaintiffs argue that Coffman explained why he chose October 15, 2014—that is, the market price

 of the Preferred Stock fell to a level that was substantially below par value which is when one

 would expect price reaction to earnings announcements for the Preferred Stock due to the concern

 that Miller Energy may not have the resources to continue to pay the preferred dividends. Thus,

 Plaintiffs state that Coffman constructed two different fixed estimation windows for his event

 study and did not include events prior to October 15, 2014. Plaintiffs state that cases make clear

 that modifying the Cammer factors, for securities with debt like components, such as preferred

 securities, is entirely appropriate. In addition, Plaintiffs argue that Coffman determined which



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 news events to test by reference to clearly identified and objective criteria that follow naturally

 from the differences in preferred and common stocks and the type of news that would be expected

 to affect each.

        The Court has already addressed this argument above. See supra Part IV, section A(2).

 Accordingly, for the same reasons as above, the Court finds Defendant’s arguments go to the

 weight of Coffman’s opinions, rather than to their admissibility.

    iii. Coffman’s Autocorrelation Analysis

        Defendant asserts that Coffman’s autocorrelation analysis is unreliable and refutes his

 conclusion that the market for the Preferred Stock was efficient. Defendant states that Coffman

 ran the simplest possible autocorrelation analysis, which only tests whether the abnormal rates for

 the Preferred Stock can be predicted using the abnormal return rate from the day before (i.e., weak-

 form efficiency). Defendant states that Coffman’s test actually provides evidence against weak-

 form efficiency and that a market that is not weak-form efficient by definition cannot be a semi-

 strong form efficient. Defendant states that Coffman did no work to determine if abnormal returns

 from two or three days beforehand can predict the return on a market date. Further, Defendant

 states that the results of Coffman’s autocorrelation analysis show that the returns for Preferred

 Stock are correlated at a statistically significant level. Defendant submits that this is evidence that

 the market for the Preferred Stock was inefficient.

        Plaintiffs maintain that Coffman’s autocorrelation test is reliable. Plaintiffs point to Dr.

 Attari’s deposition, wherein he testified that he was not suggesting Coffman relied on an invalid

 test but simply called it limited. Plaintiffs state that countless courts have recognized the validity

 of the autocorrelation methodology that Coffman employed, and Dr. Attari actually relied on the

 same method in another case. Plaintiffs note that Coffman concluded that some autocorrelation is



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 entirely consistent with an efficient market and that only systematic autocorrelation of the sort that

 suggests arbitrage opportunities indicates an inefficient market.

        As an initial matter, the Court notes that there are three general forms of efficient capital

 markets hypothesis:

                First is the weak form, which asserts simply that the current share
                price in an efficient market reflects all information about past share
                prices. If the weak form of the hypothesis accurately describes a
                market, it is impossible to predict future prices using only past
                prices. Second, the semi-strong form, which asserts that a share
                price in an efficient market reflects all public information
                concerning the security (including but not limited to past share
                prices). Third, the strong form, which asserts that all relevant
                information, public and private, is reflected in the price of securities
                in an efficient market. The strong form has been widely discredited.

 Carpenters Pension Tr. Fund of St. Louis v. Barclays PLC, 310 F.R.D. 69, 78 (S.D.N.Y. 2015)

 (quoting In re Initial Public Offering Sec. Litig., 260 F.R.D. 81, 98 n. 148 (S.D. N.Y. 2009)) (other

 citations omitted). “[M]any courts have presumed that plaintiffs must establish the semi-strong

 form.” Id. (other citations omitted).

        Autocorrelation “generally refers to the correlation between two observations of the same

 series at different dates.” Plumbers & Pipefitters Nat. Pension Fund v. Burns, 967 F. Supp. 2d

 1143, 1160 (N.D. Ohio 2013) (citation omitted). “A security exhibits autocorrelation if the change

 in price of the security on a given day provides an indication of what the change in price for the

 security will be on the following day.” Id. (quoting In re DVI, Inc. Sec. Litig., 249 F.R.D. 196,

 213 (E.D. Pa. 2008)). “The presence of autocorrelation in a security’s price may indicate that a

 security trades in an inefficient market.” Id. (citing DVI, 249 F.R.D. at 213).

        In the present matter, Coffman states that a “well-accepted methodology to test for the

 existence of autocorrelation is to run a regression analysis that tests whether, on average, the

 abnormal return from the previous day has a statistically significant effect on the abnormal return

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                                  17691
 today.” [Doc. 121 at ¶ 93] (citing William H. Greene, Econometric Analysis, Prentice Hall, Sixth

 Edition, 2008, Chapter, p. 644). Coffman continues, “If the previous day’s abnormal return has

 no statistically significant predictive power, then there is no evidence of autocorrelation.” [Id.].

 Coffman conducted a regression analysis on the common stock and the Preferred Stock. [Id. at ¶¶

 94-96]. With respect to the common stock and the Series C Preferred Stock, Coffman found that

 the coefficients during the Analysis Period are not statistically significant at the 95% confidence

 level, and therefore, support the conclusion that the common stock and the Series C Preferred

 Stock traded in an efficient market. [Id. at ¶¶ 94-95]. With respect to the Series D Preferred Stock,

 Coffman explained as follows:

                While I did find statistically significant autocorrelation for Series D
                Preferred Stock across the Analysis Period, the quarterly
                autocorrelation analysis demonstrates that there is no consistent
                pattern that would suggest an arbitrage opportunity because the sign
                of the autocorrelation coefficient is not even consistently the same
                sign. In other words, in order to profit from autocorrelation, the
                direction of the autocorrelation needs to be consistent. In this case,
                the sign changes from quarter to quarter. Therefore, the statistical
                evidence is inconsistent with the presence of systematic
                autocorrelation that would allow a trader to consistently profit.

 [Id. at ¶ 96]. Coffman concludes, “Therefore, my analysis of this factor for Miller Energy Series

 D Preferred Stock is consistent with market efficiency.” [Id.].

        Dr. Attari opines that the “absence of autocorrelations in returns may rule out violations of

 weak-form efficiency; however, they cannot help establish that the market meets the semi-strong

 form efficiency thresholds that courts require for class certification purposes.” [Doc. 129-1 at ¶

 161]. Dr. Attari explains that “[r]esearchers have developed a number of tests for detecting

 violations of weak-form efficiency” and that the “simplest, least sophisticated of these tests

 involves regressing returns on a security on the prior day’s return on the security.” [Id. at ¶ 162].

 Dr. Attari states that there are three problems with Coffman’s autocorrelation opinions: (1) his

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 analysis cannot help establish semi-strong form efficiency, (2) Coffman’s autocorrelation analysis

 checks for a very limited form of predictability and the results only inform about the type of

 predictably that Coffman analyzes, and (3) Coffman’s results show that the Series D Preferred

 Stock were autocorrelated at a highly statistically significant level over the full Analysis Period

 and that the Series C Preferred Stock was autocorrelated at a highly statistically significant level

 for several of the quarterly sub-periods. [Id. at ¶¶ 164-65]. During his deposition, Dr. Attari

 explained that if Coffman’s test is for autocorrelations, “then it’s invalid because it only tests for

 a very limited form of autocorrelations.” [Doc. 143-2 at 86].9 Dr. Attari acknowledged that he had

 relied on the same test in another case to determine that the market was inefficient. [Id. at 87-88].

 Dr. Attari testified, however, that the regular reversal of the autocorrelation coefficient from

 negative to positive could be consistent with the ability for an arbitrage opportunity. [Id. at 93].

        In the present matter, the Court does not find Coffman’s autocorrelation test (i.e., testing

 whether abnormal returns can be predicted using the abnormal return from the day before) is a

 basis to exclude his opinion. See Plumbers & Pipefitters Nat. Pension Fund, 967 F. Supp. 2d at

 1160 (explaining autocorrelation as “the change in price of the security on a given day provides

 an indication of what the change in price for the security will be on the following day”) (other

 citations omitted). Dr. Attari states that Coffman’s analysis does not test whether using the

 abnormal returns for the past two trading days or the past week allows the return on a trading day

 to be predicted, but Defendant cites no authority that autocorrelation must be tested as Dr. Attari

 has proposed. Whether Coffman’s analysis supports market efficiency is an issue for this Court

 in determining whether the Basic presumption applies during class certification.



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        Plaintiffs state in their brief that Dr. Attari testified that he was not suggesting that
 Coffman’s test was actually invalid. [Doc. 150 at 28]. During his deposition, Dr. Attari refers to
 Coffman’s test as limited, but then he describes the test as “invalid.” [Doc. 143-2 at 86].
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                                  17693
        Further, Defendant argues that Coffman’s analysis shows that the Preferred Stock

 correlated at statistically significant levels, which therefore shows the market was inefficient. In

 essence, Defendant disputes the meaning of Coffman’s results. As mentioned above, however,

 “Under Daubert, a disagreement with the expert’s conclusion is not grounds for exclusion.” North,

 505 F. Supp. 2d at 1117. The Court will consider these arguments in its analysis for determining

 whether class certification is appropriate.

        Finally, Defendant asserts that Coffman has not checked whether the results of his

 autocorrection analysis are impacted by the errors relating to his calculations as described in Part

 IV, section B(1)(iii)(“Coffman’s Methodology for Controlling the Price of Oil”) and (2)(i)

 (“Coffman’s Computation of the Return”). Defendant simply insists that Coffman did not update

 the affected exhibits and that the numbers Coffman relied on were incorrect. For similar reasons

 as stated in these sections, the Court finds Defendant’s argument is not a basis for exclusion.

        C.      Coffman’s Opinions on Damages

        Defendant argues that Coffman’s damages methodologies with respect to the Section 11

 and the Section 10 Classes are unreliable. The Court will address Defendant’s arguments

 separately.

        1.      Section 11 Damages

        First, Defendant argues that Coffman’s opinion that damages for the proposed Section 11

 Class can be calculated on a class wide basis because the statutory formula renders the knowledge

 of individual circumstances of each proposed class member irrelevant is wrong. Defendant states

 that in this case, there were multiple offerings for the Preferred Stock at different initial offering

 prices, only some of which are at issue, and therefore, there is no way to calculate any investor’s

 potential damages without knowing which offering the investors’ shares originated. Defendant



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 relies on Dr. Attari’s opinion in support of its argument. Thus, Defendant asserts that Coffman’s

 methodology provides no mechanism to calculate whether investors in the Section 11 class were

 actually damaged, and if so, by how much.

         Plaintiffs argue that Defendant’s position is incorrect, citing the Report and

 Recommendation in Gaynor v. Miller, No. 3:15-cv-545, TAV-DCP, 2018 WL 3751606 (E.D.

 Tenn. Aug. 6, 2018).10 Further, Plaintiffs state that Dr. Attari does not dispute the statutory

 damages formula set forth in Coffman’s Corrected Report or that the statutory formula can be

 easily utilized on a class wide basis. Plaintiffs state that instead, Dr. Attari’s criticism is focused

 on members’ ability to trace their offerings.

         In Coffman’s Corrected Report, he states that Section 11 damages can be calculated using

 the statutory formula. [Doc. 121 at ¶ 101]. Further, Coffman states that Section 11 allows

 Defendant to offset some or all of these damages if it can prove that financial losses under the

 statutory formula were not caused by the false statements or omissions. [Id. at ¶ 103]. Dr. Attari

 disagrees with Coffman, explaining that there are issues with a member’s ability to trace the

 purchase security to a specific offering. [Doc. 129-1 at ¶ 75].

         The Court finds that Coffman’s reliance on the statutory framework for damages does not

 make his opinion unreliable. Defendant’s criticism is better suited in determining whether the

 Section 11 Class should be certified. Accordingly, Defendant’s argument is not well taken at this

 time.




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          The undersigned notes that the Report and Recommendation was not adjudicated
 because the parties in Gaynor attempted mediation following entry of the Report and
 Recommendation. Later, the case was remanded. Gaynor v. Miller, No. 3:15-cv-545-TAV-DCP
 [Doc. 185] (E.D. Tenn. Dec. 6, 2019).
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        2.      Section 10 Damages

        Defendant asserts that Coffman’s methodology pertaining to the Section 10 damages is not

 capable of distinguishing between high and low-risk investors. Defendant argues that such is

 required given that Plaintiffs are pursuing damages based on a materialization of the risk theory.

 Defendant states that as such, any damages calculation must take into account the fact that potential

 class members have different risk tolerances. Defendant submits that although damages for the

 low-risk investors could theoretically be calculated using an out-of-pocket approach, damages for

 the high-risk investors could not. Defendant states that there is also no way to distinguish between

 the two classes of investors without individual discovery of each class member, making class wide

 damages calculation impossible. Defendant relies on the Fifth Circuit’s decision in Ludlow v. BP,

 P.L.C., 800 F.3d 674 (5th Cir. 2015), stating that the Court excluded Coffman’s testimony in that

 case for the same reason.

        Plaintiffs state that they are not required to distinguish between high-risk and low-risk

 investors. Plaintiffs claim that they are unaware of any securities fraud case in which a plaintiff

 sought out-of-pocket, non-consequential damages in which a court held that damages could not be

 determined on a class wide basis. Plaintiffs argue that Dr. Attari admits that if his opinion is based

 on a misunderstanding of the law regarding the calculation of damages, he has no criticism of

 Coffman’s opinion regarding the calculation of Section 10 damages.

        In his Corrected Report, Coffman opines that damages under Section 10 can be calculated

 on a class wide basis. [Doc. 121 at ¶ 98]. He explains as follows:

                Indeed, the standard and well-settled formula for assessing damages
                for each class member under Section 10(b) is the “out-of-pocket”
                method which measures damages as the artificial inflation per share
                at the time of purchase less the artificial inflation at the time of sale
                (or, if the share is not sold before full revelation of the fraud, the
                artificial inflation at the time of purchase, subject to the Private

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                Securities Litigation Reform Act of 1995’s “90-day lookback”
                provision, a formulaic limit on damages that also can be applied
                class-wide).

                The methodology and evidence for establishing the artificial
                inflation per share in the market price on each day during the Class
                Period is also common to the Section 10(b) Class and can be
                measured class-wide. In particular, as is standard procedure in
                Section 10(b) cases, the most common methodology to quantify
                artificial inflation is to perform an event study that measures price
                reactions to disclosures that revealed the relevant truth concealed by
                the alleged material omissions and/or misrepresentations. This
                analysis, and the evidence supporting it, would be common to the
                Section 10(b) Class. Damages for any individual class member
                could then be calculated formulaically based upon information
                collected in the claims process (i.e., the investor’s purchase and sale
                history for the security, which is routinely available from brokerage
                statements and/or other documents that provide evidence of
                securities transactions).

 [Id. at ¶¶ 99-100].

        Dr. Attari disagrees with Coffman’s method, explaining that Plaintiffs have alleged a

 materialization of the risk theory, meaning that damages depend on the risk tolerance of the

 investors in the proposed class. [Doc. 129-1 at ¶ 207]. Dr. Attari states that with respect to those

 members with higher risk tolerances, who might still have invested had the risk been disclosed at

 least at lower prices, damages cannot be calculated using Coffman’s method. [Id.]. Dr. Attari

 explains, “If such investors, who would have bought the securities at a lower price, receive a

 compensation based on the full price decline, they would clearly be receiving a windfall profit.”

 [Id.]. He concludes that there is no way to know which members of the proposed class were high

 or low risk investors. [Id.].

        Similar to the above finding, the Court finds that Defendant’s criticisms are better suited

 for analyzing class certification as opposed to a Daubert challenge. In determining whether

 damages can be calculated on a class wide basis, Coffman utilized the out-of-pocket losses



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 measure. This is a “model-driven-calculation, which calculates the damages as the difference

 between the ‘inflated’ price at which Plaintiffs bought their stock . . . and the ‘true’ price, meaning

 the theoretical price that the . . . stock would have traded for had the relevant information been

 disclosed.” Ludlow, 800 F.3d at 683. Coffman’s method to calculate Section 10(b) damages has

 been approved in a number of cases. See In re Barrick Gold Sec. Litig., 314 F.R.D. 91, 105

 (S.D.N.Y. 2016) (noting that that out-of-pocket damages are the traditional form of Section 10(b)

 damages); Rowe v. Marietta, 172 F.3d 49 (6th Cir. 1999) (“The out-of-pocket measures is favored

 method of computing damages in a securities fraud case.”); see also Rougier v. Applied

 Optoelectronics, Inc., No. 4:17-CV-02399, 2019 WL 6111303, at *16 (S.D. Tex. Nov. 13,

 2019), report and recommendation adopted, No. 4:17-CV-2399, 2019 WL 7020349 (S.D. Tex.

 Dec. 20, 2019) (distinguishing the district court’s decision in Ludlow because the pre-explosion

 subclass did not seek out-of-pocket damages based on the artificial information of the stock price,

 but instead, sought consequential damages). Accordingly, the Court finds that Coffman’s failure

 to separate between high-risk and low-risk investors goes to the weight of his opinion and not to

 its admissibility.

 V.      CONCLUSION

         Accordingly, for the reasons further explained above, the Court GRANTS IN PART AND

 DENIES IN PART Defendant’s Motion to Exclude the Reports and Testimony of Chad Coffman

 [Doc. 126].

         IT IS SO ORDERED.

                                                        ENTER:

                                                        ____________________________
                                                        Debra C. Poplin
                                                        United States Magistrate Judge


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